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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                    )
                                                    )
CANDICE D’CUNHA                                     )
                                                    )
                                                    )             AMENDED COMPLAINT
                                                    )             FOR DECLARATOR
                                                    )             AND INJUNCTIVE RELIEF
                                                    )
                      Plaintiff,                    )
                                                    )
                                                    )
                                                    )
v.                                                  )      Civil Action No. 1:22-cv-988
                                                    )
                                                    )
                                                    )
NORTHWELL HEALTH SYSTEMS                            )
                                                    )
                                                    )
                      Defendant                     )


                                   AMENDED COMPLAINT

                                      INTRODUCTION

       1. Candice D’Cunha was a resident at Northwell Health Systems Staten Island

University Hospital. There she worked since the summer of 2020, receiving stellar performance

reviews throughout her time at Northwell. She worked through much of the COVID-19

pandemic, even catching COVID herself with an infant at home.

       2. Despite this hard work, dedication, and sacrifice on behalf of Northwell Health Systems

and its patients, Northwell Health Systems fired Dr. D’Cunha in October of last year while she

was four months pregnant.

       3. This was not because of poor performance as an employee or as a doctor; it was not


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because Northwell found that she was sick or presented an actual threat to her patients or co-

workers in any way. It was because Northwell insisted that Dr. D’Cunha take a vaccine that she

could not accept as a matter of concern for her unborn child and her conscience, medical

training, common sense, and religious beliefs.

       4. In seeking to exert economic pressure on the question of whether she would accept

medical treatment, Northwell Health Systems abandoned its commitment to the fundamentals

medical ethics—the principal of informed consent in particular.

       5. In refusing to accommodate Dr. D’Cunha’s pregnancy, religious beliefs, and medical

condition, Northwell also violated state and federal law.


                                   JURISDICTION AND VENUE

       6. Plaintiff seeks relief pursuant to the civil enforcement provisions of the Pregnancy

Discrimination Act and the Civil Rights Act of 1964, 42 U.S.C. § 2000e, and the Americans with

Disabilities Act, 42 U.S.C. § 12101.

       7. This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1331,

1343(a)(3)-(4) because this action arises under the laws of the United States.

       8. Venue for this action properly lies in this District pursuant to 28 U.S.C. § 1391

because a substantial part of the events, actions, or omissions giving rise to the claim occurred in

this judicial district, where Northwell Health Systems Staten Island Staten Island University

Hospital is principally located.

       9. This Court may also issue declaratory relief pursuant to 28 U.S.C. § 2201.

Additionally, “[f]urther necessary or proper relief based on a declaratory judgment may [also] be

granted ...,” including via injunction. See Powell v. McCormack, 395 U.S. 486, 499 (1969) (“A

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declaratory judgment can then be used as a predicate to further relief, including an injunction. 28

U.S.C. § 2202 ....”).


         10. This Court also has concurrent jurisdiction over the state claims pursuant to 28 U.S.C.


§ 1367.


                                                    PARTIES

         11. Plaintiff Candice D’Cunha is a 2020 graduate of Kent State University College of

Podiatric Medicine. She Matched in January 2020 with Staten Island University Hospital

Northwell for her residency and began work there in June of 2020.

         12. Northwell Health Systems is a New York domestic not-for-profit corporation

headquartered in Westbury, Nassau County, New York. Northwell is the parent company of

Staten Island University Hospital, located in Staten Island, where Dr. D’Cunha worked.

Northwell Health Systems is the largest health provider in New York.1


                                        FACTUAL BACKGROUND


         13. Dr. D’Cunha lived in New York City upon arriving in the United States in August of

2008. She received an education there and worked her way into medical school at Kent State



1 See, e.g., Brian Rosenthal, The largest hospital system in New York sued 2,500 patients for unpaid medical bills
after the pandemic hit., NEW YORK TIMES, (January 6, 2021), available at
https://www.nytimes.com/2021/01/06/world/the-largest-hospital-system-in-new-york-sued-2500-patients-for-
unpaid-medical-bills-after-the-pandemic-hit.html?auth=login-email&login=email (last accessed February 3,
2022)(“When the coronavirus began spreading through New York, Gov. Andrew M. Cuomo ordered state-run
hospitals to stop suing patients over unpaid medical bills, and almost all of the major private hospitals in the state
voluntarily followed suit by suspending their claims. But Northwell Health, which is the state’s largest health system
and is run by one of Mr. Cuomo’s closest allies, sued more than 2,500 patients last year, records show.”)
.


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University College of Podiatric Medicine.

         14. During medical school at Kent State, then, an externship in the City was a natural

choice. She accepted an offer of an externship at Staten Island University Hospital (“SIUH” or

“SIUH Northwell”) and worked there in August of 2019.

         15. Dr. D’Cunha then interviewed for her residency at SIUH in January of 2020, and

applied in February 2020.

         16. SIUH Northwell informed Dr. D’Cunha that she matched for a residency in March,

2020.

         17. Dr. D’Cunha graduated in May of 2020 and began her residency at SIUH Northwell

on June 22, 2020.

         18. Dr. D’Cunha progressed nicely throughout her residency and received good reviews.

         19. Dr. D’Cunha was pregnant when she began her residency and gave birth to her

daughter in October of 2020.

         20. In February of 2021, Dr. D’Cunha started experiencing symptoms consistent with

COVID-19, which a positive test confirmed.

         21. As a result, Dr. D’Cunha missed roughly ten days of work while she recovered in the

February-March 2021 timeframe. She had vertigo symptoms that continued for an additional six

weeks.


         22. On August 2, 2021, SIUH Northwell announced a mandate that its employees must

receive a COVID-19 vaccine or receive a religious or medical exemption by September 27,

2021, or face termination.

         23. Northwell never published any criteria by which it would grant religious exemptions


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to its mandate.

       24. Upon information and belief, Northwell never published any criteria by which it

would grant medical exemptions.

       25. Upon information and belief, Northwell never established any criteria by which it

would grant medical exemptions.

       26. On September 3, 2021, Dr. D’Cunha submitted a request for a religious exemption.

(See Exhibit A.)

       27. On September 4, 2021, Northwell verbally informed Dr. D’Cunha that they were no

longer accepting any religious exemption requests.

       28. On September 9, 2021, Dr. D’Cunha submitted a request for a medical exemption. (See

Exhibit B.)

       29. On September 20, 2021, Northwell informed Dr. D’Cunha that they had denied her

request for medical exemption. (See Exhibit C.)

       30. On September 23, 2021, Dr. D’Cunha appealed Northwell’s decision on her medical

exemption request.

       31. On September 29, 2021, Northwell informed Dr. D’Cunha that it rejected the appeal of

her medical exemption request. (See Exhibit D.)

       32. On September 30, 2021, Kate Rafla, Northwell Director of Operations at SIUH,

contacted Dr. D’Cunha to inform her that Northwell could not locate her request for religious

exemption. (See Exhibit E.)

       33. Dr. D’Cunha re-submitted her request for religious exemption the same day.

       34. On October 1, 2021, Northwell informed Dr. D’Cunha that it had rejected her request

for religious exemption in which it referenced a stay on New York state’s mandate and stated in

                                                                                                  5
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relevant part:

       in an effort to provide clarity to you while we await the court’s final
       determination and in an effort to address its operational concerns…In accord with
       the principles that would apply should such religious exemptions be permitted, we
       nevertheless have determined that your religious exemption request must be
       denied as it would create an undue hardship. (See Exhibit F.)

       35. On October 1, 2021, while she was seeing patients, Northwell summoned Dr. D’Cunha

and hand-delivered her a letter of termination back-dated to September 28. (See Exhibit G.)

       36. Later that day, Amy Durante, Northwell Director of Medical Education, informed Dr.

D’Cunha that, as a resident, she was entitled to a delayed termination date and an appeals

process. She followed up with a letter to this effect dated October 5, 2021. (See Exhibit H.)

       37. On October 8, Northwell provided Dr. D’Cunha with a second termination letter

stating that October 7 had been her last day of work. (See Exhibit I.)

       38. Dr. D’Cunha requested an appeal, and on November 22, 2021, participated in an

internal hearing of Northwell’s Adverse Action Review Committee that Northwell conducted to

review its termination. (See Exhibit J.)

       39. On Christmas Eve, December 24, 2021, Northwell delivered to Dr. D’Cunha the

decision of the Adverse Action Review Committee that it stood by its decision to terminate her.

(See Exhibit K.)


       40. Northwell did not reach an independent determination that Dr. D’Cunha posed an

increased health threat to any of her patients or co-workers that necessitated the steps it took.

       41. Northwell never made an independent determination that Dr. D’Cunha posed an

increased health threat to any of her patients or co-workers as a result of not having taken the

COVID-19 vaccine.


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       42. Dr. D’Cunha filed a complaint with the Equal Employment Opportunity Commission

(EEOC), charge number 520-2022-00721.

       43. The EEOC issued a Notice of Right to Sue on November 5, 2021. (See Exhibit L.)

       44. Upon information and belief, Northwell granted exemptions to several of its employees

in order to accommodate their religious beliefs.

       45. Upon information and belief, Northwell granted exemptions to several of its employees

to accommodate their pregnancies.

       46. Upon information and belief, Northwell granted exemptions to several of its employees

to accommodate their medical conditions.

       47. Northwell made no attempt to accommodate Dr. D’Cunha’s pregnancy, medical

condition, or religious beliefs.

       48. Northwell made no showing that any such accommodation would present an undue

hardship.

       49. Dr. D’Cunha remains unemployed.


                                         COUNT ONE

                                   Discrimination on the basis of sex.

       50. Paragraphs 13-51 are incorporated herein.

       51. The Civil Rights Act of 1964, 42 U.S.C 2000e-2(a)(1) prohibits discrimination on the

basis of sex.

       52. In 1978, Congress Amended the Civil Rights Act, defining “sex” to include

“pregnancy, childbirth, or related medical conditions.”

       53. In refusing to accommodate Dr. D’Cunha’s request for exemption because of her


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pregnancy and firing her, Northwell discriminated against her on the basis of sex.

                                         COUNT TWO
                              Discrimination on the basis of religion.

        54. Paragraphs 13-51 are incorporated herein.

        55. The Civil Rights Act of 1964, 42 U.S.C 2000e-2(a)(1) prohibits discrimination on the

basis of religion.

        56. In refusing to accommodate Dr. D’Cunha’s request for exemption because of her

religious beliefs and firing her, Northwell discriminated against her on the basis of religion.


                                           COUNT 3
                       Discrimination on the basis of perceived disability.

        57. Paragraphs 13-51 are incorporated herein.

        58. The Americans with Disabilities Act, 42 U.S.C. 12101 prohibits discrimination on the

basis of disability.

        59. These protections include situations when the employee is “regarded as having such an

impairment.” 42 U.S.C. §12102(1)(c).

        60. In refusing to accommodate Dr. D’Cunha’s request for a medical exemption and firing

her, Northwell discriminated against her on the basis of perceived disability—that, despite

providing a laboratory-confirmed antibody count, she was impaired in her immunity to the

disease, and is a carrier or potential carrier of an infectious disease.


                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays for relief as follows:

    A. Hold unlawful and set aside Northwell’s vaccine mandate.

    B. Issue permanent injunctive relief enjoining Defendant Northwell and its agents from

                                                                                                  8
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failing to accommodate Dr. D’Cunha and terminating her and reinstate her to full employment

status.

    C. Award compensatory and punitive damages to Dr. D’Cunha for loss of employment and

costs incurred as a result of her loss of her residency, including losses related to the delay in the

progress of her career.


    D. Award Plaintiff costs and reasonable attorneys’ fees.

    E. Award such other and further relief as the Court deems equitable and just under the

circumstances.



Dated: February 24, 2022

                                               Respectfully Submitted,




                                               ______________________________
                                               Counsel
                                               E. Scott Lloyd
                                               Law Office of E. Scott Lloyd, PLLC
                                               Virginia Bar # 76989
                                               20 E. 8th Street, Suite 3
                                               Front Royal, VA 22630
                                               (540)631-4081
                                               scott@law-esl.com
                                               Counsel for the Plaintiff
                                               *Admitted pro hac vice




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                               CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that I will cause a copy of the foregoing Complaint to be served
upon Defendant on February 25, 2022.



__________________________
   E. SCOTT LLOYD




                                       VERIFICATION
        Pursuant to 28 U.S.C. § 1746, I, Candice D’Cunha, declare under penalty of perjury that
the foregoing is true and correct. Executed on February 24, 2022.




__________________________
CANDICE D’CUNHA




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                                    Personal and Confidential


September 20, 2021
Sent Via: Electronic Mail
Candice Dcunha
Email Address:              @northwell.edu

       Re: Accommodation Status

Dear Candice Dcunha:

We are in receipt of your request for a medical exemption from New York State’s mandate that
requires all personnel employed or affiliated with a health care facility to receive their first dose
of the COVID-19 vaccine by September 27, 2021. In August 2021, the New York State
Department of Health (“DOH”) issued this vaccine mandate under Section 16 of the Public Health
Law. After reviewing your request and supporting materials, we are unable to grant you a medical
exemption from the NYS vaccine mandate. Exemption decisions are based on known COVID-19
vaccine safety risks. Your stated reason for a medical exemption is not a contraindication to
COVID-19 vaccination. This means that in accordance with the NYS vaccination mandate, you
must receive your first dose of the COVID-19 vaccine by September 27, 2021. If you feel as though
your exemption decision was made without consideration of all available and/or relevant
information, please submit such supplemental documentation to EHSCompliance@northwell.edu.
Although mask wearing and other existing protocols will continue to be required to help prevent
the spread of the virus, these life-saving vaccines remain our best shot at crushing COVID-19. As
healthcare professionals and members of the largest healthcare provider in New York State, we
have a unique responsibility to get vaccinated to end the pandemic and protect our patients,
colleagues, families and communities. If you have additional questions, please explore educational
materials on the employee intranet, including FAQs, information sheets, recorded discussions and
videos, some of which are available in multiple languages. Those without intranet access can also
visit our digital vaccine hub for the community. Please reach out if we can provide you with any
other information. Northwell is committed to providing you with the information you need to
make this decision and can connect you with an expert. We urge you to get your first dose of the
COVID-19 vaccine by September 27, 2021 to ensure you can help us continue to improve the
health and quality of life of the communities we serve.

If you choose to not receive your first shot before September 27, 2021, you will be non-compliant
with the NYS mandate and your continued employment will be at risk. In the meantime, we
appreciate your cooperation with health and safety precautions to protect the health of you, your

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colleagues, our patients and visitors. These precautions include the requirement to undergo weekly
nasal PCR testing in accordance with Northwell’s mandatory PCR testing program. Additionally,
between now and September 27, 2021, you may be unable to participate in certain meetings,
gatherings, and/or Northwell-sponsored events and programs due solely to your unvaccinated or
partially vaccinated status.

Please know that Northwell has a COVID-19 vaccine reserved for all team members. If you are
interested in receiving a COVID-19 vaccine, you can book an appointment through the Employee
Health Portal. If you opt to get vaccinated at a non-Northwell source, you can upload proof to the
portal or email it to                 @northwell.edu to record your vaccination status.


Thank you,


Northwell Health Human Resources

CC: Site HRBP




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                                   Personal and Confidential
September 29, 2021

Sent Via: Electronic Mail

       Re: Accommodation Status – Medical Exemption Request


Dear Candice Dcunha:
You were previously informed that your request for a medical exemption from New York State’s
mandate that requires all personnel employed or affiliated with a health care facility to receive
their first dose of the COVID-19 vaccine by September 27, 2021 was denied. Please be advised
that after reviewing your resubmission of your request and supporting materials, if any, the initial
determination on your request is unchanged and we are unable to grant you a medical exemption
from the NYS vaccine mandate. Exemption decisions are based on known COVID-19 vaccine
safety risks. Your stated reason for a medical exemption is not a contraindication to COVID-19
vaccination. This means that in accordance with the NYS vaccination mandate, you were required
to receive your first dose of the COVID-19 vaccine by September 27, 2021.
Although mask wearing and other existing protocols will continue to be required to help prevent
the spread of the virus, these life-saving vaccines remain our best shot at crushing COVID-19. As
healthcare professionals and members of the largest healthcare provider in New York State, we
have a unique responsibility to get vaccinated to end the pandemic and protect our patients,
colleagues, families and communities. If you have additional questions, please explore
educational materials on the employee intranet, including FAQs, information sheets, recorded
discussions and videos, some of which are available in multiple languages. Those without intranet
access can also visit our digital vaccine hub for the community. Please reach out if we can provide
you with any other information. Northwell is committed to providing you with the information
you need to make this decision and can connect you with an expert. We urge you to get your first
dose of the COVID-19 vaccine to ensure you can help us continue to improve the health and
quality of life of the communities we serve.

At this time you are noncompliant with the NYS mandate and your continued employment is now
at risk. We encourage you to get the vaccine immediately or you are risking your continued
employment with Northwell. In the meantime, we appreciate your cooperation with health and
safety precautions to protect the health of you, your colleagues, our patients and visitors. These
precautions include the requirement to undergo weekly nasal PCR testing in accordance with
Northwell’s mandatory PCR testing program. Additionally, you may be unable to participate in
certain meetings, gatherings, and/or Northwell-sponsored events and programs due solely to your
unvaccinated or partially vaccinated status.
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Please know that Northwell has a COVID-19 vaccine reserved for all team members. If you are
interested in receiving a COVID-19 vaccine, you can book an appointment through the Employee
Health Portal. If you opt to get vaccinated at a non-Northwell source, you can upload proof to the
portal or email it to                 @northwell.edu to record your vaccination status.


Thank you,


Northwell Health Human Resources

CC: Site HRBP
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                                        Personal and Confidential

October 1, 2021

Sent Via: Electronic Mail

Re: Accommodation Status

Dear Dr. Candice Dcunha,

We are in receipt of your request for a religious exemption from the New York State vaccine mandate
requiring health care workers to receive their first dose of a COVID-19 vaccine by September 27. To the
extent that you received an earlier communication from Northwell regarding your religious exemption
request, including any prior denials, please disregard that earlier communication.

As you may be aware, the State revised its mandate on August 26 to limit exemptions to those that are
medical in nature, thereby excluding any/all religious exemptions. This meant that the State no longer
permitted healthcare employers (including Northwell) from considering religious exemptions. On
September 14, a court granted a temporary order that placed a hold on the New York State Department
of Health’s ability to enforce its prohibition on religious exemptions. At this time, it is unknown whether
the court’s temporary order will become permanent. While we understand your request for a religious
exemption, and the rationale behind your request, we must also be mindful of the State’s mandate as
well as our operational concerns, including the safety of Northwell’s patients, visitors and team
members.

Therefore, in an effort to provide clarity to you while we await the court’s final determination and in an
effort to address operational concerns, Northwell has reviewed your religious exemption request in
advance of the Court’s ruling in the event that Northwell is ultimately permitted to consider such
religious exemption. In accord with the principles that would apply should such religious exemptions be
permitted, we nevertheless have determined that your religious exemption request must be denied as it
would create an undue hardship. Specifically, we have determined that permitting you, as an
unvaccinated team member, to report to your worksite that provides direct patient care and/or has
direct contact with the general public poses an unacceptable health and safety threat to patients, co-
workers, and visitors. Moreover, there is no alternative arrangement that can be made that would allow
you to perform the essential functions of your position while unvaccinated without creating an undue
hardship.

As such, consistent with our requirements of all other Northwell employees, you are immediately
required to receive a first dose of the COVID-19 vaccine as a condition of continued employment.
Unless you take immediate steps to get your first dose, you will be considered non-compliant with the
COVID-19 vaccine mandate.


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Please know that Northwell has a COVID-19 vaccine reserved for all team members. If you are interested
in receiving a COVID-19 vaccine, you can book an appointment through the Employee Health Portal. If
you opt to get vaccinated at a non-Northwell source, you can upload proof to the portal or email it to
                @northwell.edu to record your new vaccination status.

Thank you,

Northwell Health
Human Resources




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 1      ___________________________________________

 2      In the Matter of

 3      THE ADVERSE ACTION REVIEW MEETING BETWEEN

 4      CANDICE D'CUNHA, DPM

 5
            - and -
 6

 7      NORTHWELL HEALTH, INC.

 8      ___________________________________________

 9                               November 22, 2021
                                 9:05 a.m.
10
                                 Held remotely via Zoom
11

12

13      BEFORE:         STEPHEN BARONE, M.D.
                        REBECCA ZWEIFLER, M.D.
14                      SUZANNE EL-SAYEGH, M.D.

15
        ALSO PRESENT:   JOHN SOTTILE, M.D.
16                      WILLIAM LOWE, M.D.
                        TAMIRA BRUNSON, Northwell Health
17                      GUS PHILLIPS, Gregory Edwards

18

19

20      REPORTED BY:    MICHELLE CONERO, Court Reporter

21

22




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 1                         E X H I B I T S

 2

 3       PROGRAM
        EXHIBIT NO.        DESCRIPTION                    PAGE
 4
            1         10 NYCRR 2.61, Prevention      Premarked
 5                    of COVID-19 Transmission
                      by Covered Entities
 6
            2         Human Resources Policy and     Premarked
 7                    Procedure Manual

 8          3         COVID-19 vaccination -         Premarked
                      medical accommodation
 9                    request form

10          4         9/20/21 e-mail to Candice      Premarked
                      D'Cunha and 9/29/21 e-mail
11                    to Candice D'Cunha

12          5         COVID-19 vaccine update from   Premarked
                      Northwell Health dated
13                    between 8/2/21 and 10/4/21

14          6         COVID-19 vaccination -         Premarked
                      religious accommodation
15                    request form

16          7         10/1/21 e-mail to Candice      Premarked
                      D'Cunha
17
            8         1/21 letter to Candice         Premarked
18                    D'Cunha

19          9         2020/2021 Resident/Fellow      Premarked
                      Manual
20
          10          Northwell Health               Premarked
21                    documentation

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 1      EXHIBITS (CONT.):

 2

 3       PROGRAM
        EXHIBIT NO.         DESCRIPTION                  PAGE
 4
          11          10/5/21 e-mail to Candice      Premarked
 5                    D'Cunha

 6        12          10/7/21 e-mail to Candice      Premarked
                      D'Cunha
 7
          13          10/8/21 termination            Premarked
 8                    acknowledgement

 9        14          10/11/21 e-mail to Amy         Premarked
                      Durante from Candice D'Cunha
10
          15          11/4/21 e-mail to Candice      Premarked
11                    D'Cunha

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 1                  DR. BARONE:    William, good morning.

 2            Can you introduce yourself?      Are you going

 3            to be a witness?

 4                  MR. LOWE:     Yes. My name is William

 5            Lowe, I'm the medical director for the

 6            Employee Health Service.       I am a witness for

 7            today.

 8                  DR. BARONE:    Okay.     So I'm going to

 9            ask, I guess, Gus, can you put him in a

10            holding room for the beginning of the

11            presentation until it's time for him to be a

12            witness?

13                  MR. PHILLIPS:     Yes.

14                  And is it Dr. William Lowe?

15                  MR. LOWE:     Yes.

16                  DR. BARONE:    Tamira, can you please

17            tell me your role?

18                  MS. BRUNSON:     I'm the paralegal.    I'm

19            presenting the exhibits on the screen for

20            the hospital. I've also been controlling

21            the screen to share the confidentiality

22            statement.




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 1                  DR. BARONE:    Okay.   So your major role

 2            here is to just help present any of the data

 3            that we have to show?

 4                  MS. BRUNSON:    Correct.

 5                  DR. BARONE:    Okay, good.     And

 6            Michelle, can you introduce yourself?        Ms.

 7            Conero.

 8                  MS. CONERO:    Sure.   Good morning,

 9            everybody.    I'm the court reporter.      I will

10            be taking down everything that is said

11            today.

12                  DR. BARONE:    Okay.   I'm going to start

13            and read an opening statement.

14                  MR. PHILLIPS:    Counsel -- Mr. Barone,

15            Candice, I just wanted to make sure I had

16            your name.    Is it Dr. Candice --

17                  DR. D'CUNHA:    Yes.

18                  MR. PHILLIPS:    What would your last

19            name be?    I just wanted to change it on the

20            screen.

21                  DR. D'CUNHA:    It's D-'-C-U-N-H-A.

22                  MR. PHILLIPS:    Thank you.




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 1                  MS. EL-SAYEGH:    Dr. Barone, who is the

 2            final person in the room? Dr. Sottile?

 3                  DR. BARONE:    He's the program

 4            director.

 5                  DR. SOTTILE:     I'm the program director

 6            for the podiatric residency program.

 7                  DR. BARONE:    This is an opening

 8            statement regarding the Adverse Action of

 9            the Review Committee meeting with Candice

10            D'Cunha.

11                  Am I pronouncing it right, Candice?

12                  DR. D'CUNHA:     Correct.

13                  DR. BARONE:    I would like to call the

14            meeting to order.    My name is Dr. Stephen

15            Barone and I am the program director of

16            Pediatrics at Cohen's Children's Medical

17            Center at Northwell.    We're here to review

18            the adverse action imposed with respect to

19            Dr. Candice D'Cunha, specifically the

20            decision to terminate her from the Podiatric

21            Medical and Surgical Reconstructive Rear

22            Foot and Ankle program at Staten Island




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 1            University Hospital, which I will refer to

 2            as the program.

 3                    I'm serving as the chair of the

 4            Adverse Action Committee. I would like to

 5            take a moment to review the procedures for

 6            this morning's meeting.   This review is

 7            being held in accordance with procedures set

 8            forth in policies number 7 and 7-A of the

 9            Office of Academic Affairs.   Each party will

10            be provided the opportunity to make an

11            opening statement.   John Sottile, the

12            director of Podiatric Medicine and Surgery

13            at the hospital, is also the program

14            director. Dr. Sottile will open the meeting

15            with a statement on behalf of the program.

16                    Dr. D'Cunha, you'll make your

17            opening statement once Dr. Sottile has

18            completed his.

19                    After opening statements have

20            concluded, the program will present its case

21            by describing the adverse action imposed

22            against Dr. D'Cunha and the reasons




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 1            supporting such action, which can be made

 2            through the use of documentary evidence or

 3            witness testimony.   In order to reverse the

 4            adverse action Dr. D'Cunha has the burden to

 5            persuade the committee that she failed to

 6            receive notice of any deficiency in ACGME

 7            core competencies and a reasonable

 8            opportunity to remedy same, or that the

 9            adverse action lacks any factual basis or is

10            not compliant with ACGME, CODA, CPME or

11            Northwell policies, including those

12            contained in the house staff manual.     Dr.

13            D'Cunha may meet this burden by way of

14            documentary or testimonial evidence.     This

15            meeting is not subject to any formal rules

16            of evidence or procedure, and the committee

17            will permit presentation of evidence and

18            witnesses subject to any restrictions we may

19            impose. On behalf of the committee I will

20            make all the rulings with respect to whether

21            the proposed evidence and witnesses are

22            relevant to this review.




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 1                  I am going to ask the other two

 2            members of the committee to give their name,

 3            department and position.    So you guys want

 4            to go ahead.

 5                  DR. EL-SAYEGH:    Dr. Suzanne El-Sayegh.

 6            I'm the program director of Internal

 7            Medicine at Staten Island University

 8            Hospital Northwell, and I'm an associate

 9            chairman of Medicine.

10                  DR. ZWEIFLER:    I'm Dr. Rebecca

11            Zweifler, I'm a third-year internal medicine

12            resident at Lenox Hill Hospital.

13                  DR. BARONE:   The record should reflect

14            that no one on this committee is a member of

15            the Department of Podiatric Medical Surgery

16            at the hospital.

17                  Dr. D'Cunha has elected to proceed

18            without an attorney.    As a result, pursuant

19            to policy 7-A, neither the program nor the

20            committee will have an attorney present.

21                  There is a court reporter here today,

22            we introduced her, and a transcript of this




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 1            meeting will be made. All parties and

 2            witnesses should be sure to speak clearly

 3            and give only verbal responses so the court

 4            reporter may accurately transcribe the

 5            testimony provided during the meeting.

 6                  This review is not open to the public.

 7            All the documents and testimony present here

 8            shall be maintained in strict confidence.

 9                  As chairperson I'll preside over the

10            meeting and maintain decorum and order.

11            I'll ensure that all participants are

12            offered a reasonable opportunity to present

13            their case.

14                  I will act on objections and requests

15            for rulings based on common sense and

16            fairness.

17                  Of course this is a confidential

18            proceeding. Nothing occurring during this

19            meeting should be discussed outside the

20            room. All documents presented to each party

21            will be confidential.

22                  The committee may accept, reject or




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 1            modify the adverse action taken or take any

 2            other action the committee deems appropriate

 3            under the circumstances.     The action taken

 4            by the committee and the supporting reasons

 5            will be set forth within in a written report

 6            within 15 days of inclusion and review.

 7            Because the transcript of this meeting will

 8            be of great assistance to the committee in

 9            its deliberations, we ask the program and

10            Dr. D'Cunha to agree that the review is

11            deemed concluded -- is not deem concluded

12            until after the committee receives the

13            transcript.

14                  Is that okay with you, Dr. Sottile?

15                  DR. SOTTILE:    Yes.

16                  DR. BARONE:    Is that okay with you,

17            Dr. D'Cunha?

18                  DR. D'CUNHA:    Yes.

19                  DR. BARONE:    Thank you.

20                  Unless there are any other matters

21            anyone would like to raise at the time, I

22            would ask the program to proceed.




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 1                  Before I let Dr. Sottile make an

 2            opening statement, any other questions or

 3            concerns?

 4                  (No response.)

 5                  DR. BARONE:    Please speak clearly and

 6            at least at a reasonable pace so Michelle

 7            can get everything down.

 8                  Okay. Go, Dr. Sottile.

 9                  DR. SOTTILE:     Good morning. My name

10            is Dr. John Sottile and I am the program

11            director at Staten Island University

12            Hospital for the Podiatric Medical and

13            Surgical Residency Program.     I will refer to

14            that program as program if needed as I

15            continue my opening statement.

16                  I was the program director to Dr.

17            Candice D'Cunha whose termination we are

18            here to review.     Dr. D'Cunha became a

19            resident in the program beginning in June

20            2020. In the summer of 2021 New York State

21            issued a mandate requiring that all

22            healthcare workers receive the COVID-19




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 1            vaccine by September 27, 2021.   Northwell

 2            also mandated that its team members receive

 3            the COVID-19 vaccine by that same date.

 4                  You will hear about the mandate from

 5            Dr. William Lowe who is a medical director

 6            for Northwell's Employee Health Service,

 7            also known as EHS.

 8                  As a resident in the program, an

 9            employee of Northwell, Dr. D'Cunha was

10            required to follow and comply with all

11            applicable laws, rules, regulations and all

12            Northwell policies.    Dr. D'Cunha chose not

13            to be vaccinated.    As the other residents in

14            the program were being vaccinated in order

15            to comply with the mandate, I learned that

16            Dr. D'Cunha had not yet been vaccinated.       I

17            asked her and she said no.   I recommended

18            that she discuss it with her husband and her

19            OB/GYN. The next time we discussed it she

20            said that she had discussed it with her

21            family and her OB but she still did not want

22            to be vaccinated.    She indicated that she




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 1            would seek a medical and religious

 2            exemption.    We did not discuss the details

 3            of what those requests might be.    You will

 4            hear from Dr. Lowe about her medical

 5            exemption request and from Vicki Kahaner,

 6            who is vice president of Employee Relations,

 7            about her religious exemption request.

 8            Those requests were denied.   Without an

 9            approved exemption, Dr. D'Cunha needed to

10            get vacc'd.

11                  On October 5, 2021 she was given a

12            letter stating that she was out of

13            compliance with the requirement that she be

14            vaccinated by September 27th. The letter

15            offered her a way to schedule the vaccine so

16            she could comply, and further stated if she

17            did not get vaccinated she would be

18            terminated on October 7, 2021.     She did not

19            get vaccinated.   By the letter dated

20            October 7, 2021 she was given notice of this

21            adverse action, namely that she was being

22            terminated for her failure to comply with




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 1            the vaccine mandate.

 2                  We discussed it again at that time but

 3            there was nothing much more to say.    Her

 4            request for this review will follow.

 5                  Candice will be given an opportunity

 6            to make her statement and then, as I

 7            mentioned, Dr. Lowe and Ms. Kahaner will

 8            address the nature of her request for

 9            exemptions from the vaccine mandate.    If

10            needed, we will discuss a timeline which we

11            have prepared and documents included in that

12            timeline.

13                  Thank you.

14                  DR. BARONE:    Thank you. Dr. D'Cunha,

15            would you like to make an opening statement?

16                  DR. D'CUNHA:     Just to verify here.    I

17            have the reasons for why I did want to ask

18            for an appeal. I also have a longer

19            testimonial of what I really do want to say.

20            Does that come at a later time and then I

21            just make this opening appeal request first?

22                  DR. BARONE:    You can make an opening




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 1            statement now. I mean later we may ask if

 2            you want to present any documents or

 3            evidence. If you want to make an opening

 4            statement, you can do it now.

 5                  DR. D'CUNHA:   This is going to be a

 6            few minutes.   So the reason for the appeal

 7            today from my standpoint is that there is no

 8            rational basis for me to be vaccinated while

 9            I'm pregnant. The safety of the vaccine for

10            pregnant woman has not been established.

11            There are studies indicating that there

12            could be some cause for concern for pregnant

13            women.   My history of having COVID and the

14            antibody test I provided both indicate that

15            I have obtained natural immunity.

16                  The failure of Northwell to

17            accommodate me based on my pregnancy

18            violates the Pregnancy Discrimination Act.

19            The failure of Northwell to accommodate me

20            based on my religious objection violates the

21            Civil Rights Act of 1964. And then the

22            termination by Northwell solely based on my




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 1            COVID vaccination status over and above all

 2            considerations of performance, ability and

 3            exclusive of any attempt to provide

 4            reasonable accommodations consistent with

 5            Northwell's practices up until a few months

 6            ago, including the use of PPE, social

 7            distancing and other measures, is

 8            inconsistent with the concept of due process

 9            which acknowledges the rights and the unique

10            circumstances of individuals.

11                  In 1927 a Supreme Court case, Buck

12            versus Bell, Superintendent of State Colony

13            Epileptics and Feeble Minded, concluded that

14            it was acceptable for the Commonwealth of

15            Virginia to sterilize Carrie Buck, who was

16            deemed to be feeble minded, without her

17            consent.   Such an operation did not violate

18            the Fourteenth Amendment guarantees of equal

19            protection and due process of law according

20            to the court. In the process of ruling that

21            it did not, Supreme Court Justice Oliver

22            Wendell Holmes stated it is better for all




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 1            the world if instead of waiting to execute

 2            degenerate offspring for crime, or to let

 3            them starve from their imbecility, society

 4            can prevent those who are manifestly unfit

 5            from continuing their kind.   The principle

 6            that sustains compulsory vaccination is

 7            broad enough to cover cutting the fallopian

 8            tube. Three generations of imbeciles are

 9            enough. Justice Holmes was not speaking for

10            a lunatic fringe.   He was writing for eight

11            of nine Supreme Court justices. He was also

12            speaking for a scientific establishment that

13            had, to a large degree, accepted the

14            principle of eugenics in the service of

15            racial purity. That same principle was also

16            taking hold in Germany and gave way to the

17            scourge of Naziism.

18                  Just to clarify here in case anyone

19            was lacking this information, Carrie Buck

20            was a woman who was raped by her foster

21            parents' nephew.    She was not someone who

22            was feeble of mind.   They were simply trying




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 1            to hide her from society because she got

 2            pregnant as a result of the rape. She was

 3            not informed that she ever was to be

 4            sterilized. She only found that out years

 5            later.   Five years later, in 1932, the

 6            United States Public Health Service

 7            commenced a study about the ravages of

 8            untreated syphilis in black men in Tuskegee,

 9            Alabama.   Over a period of 40 years the U.S.

10            Government doctors withheld treatment,

11            including penicillin, to roughly 200 black

12            men in an episode that has become one of the

13            most infamous in U.S. history.

14                  When the story of the testing

15            experiments broke in 1972, Dr. J.D. Millar,

16            head of the Venereal Disease branch of the

17            CDC, stated the study began when attitudes

18            were much different on treatment and

19            experimentation.   At this point in time,

20            with the knowledge of treatment and the

21            disease and the revolutionary change in

22            approach to human experimentation, I don't




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 1            believe the program would be undertaken is

 2            what he said.

 3                  When the story broke in 1972, an ad

 4            hoc advisory panel was put together to

 5            review the study.   The men were never

 6            offered or told that the research was

 7            voluntary.   They were never told that they

 8            could back out of the program.   They were

 9            never told when treatment was made

10            available.   The revolution that he was

11            speaking of, which was borne of these

12            shameful events, its found embodiment in the

13            Belmont Report.

14                  The Belmont Report was written by the

15            National Commission for the Protection of

16            Human Subjects of Biomedical and Behavioral

17            Research. The commission, created as a

18            result of the National Research Act of 1974,

19            was charged with identifying the basic

20            ethical principles that should underlie the

21            conduct of biomedical and behavioral

22            research involving human subjects and




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 1            developing guidelines to assure that such

 2            research is conducted in accordance with

 3            those principles.   Informed by monthly

 4            discussions that spanned nearly four years

 5            and an intensive four days of deliberation

 6            in 1976, the commission published the

 7            Belmont Report which identifies basic

 8            ethical principles and guidelines that

 9            address ethical issues arising from the

10            conduct of research with human subjects.

11                  One very specific thing is care should

12            be taken to ensure information about risks

13            should never be withheld for the purpose of

14            eliciting cooperation of subjects.

15                  The Belmont Report is critical for

16            defining the concept of informed consent,

17            but especially in this context because it

18            speaks directly to the definition of

19            coercion and undue influence.

20                  Coercion occurs when an overt threat

21            of harm is intentionally presented by one

22            person to another in order to obtain




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 1            compliance. Unjustifiable pressures usually

 2            occur when persons of authority or

 3            commanding influence, especially where

 4            possible sanctions are involved, urge a

 5            course of action for a subject.    Undue

 6            influence, by contrast, occurs through an

 7            offer of excessive, unwarranted,

 8            inappropriate or improper reward or other

 9            overture in order to obtain compliance.

10            Also, inducements that would ordinarily be

11            acceptable may become undue influences if

12            the subject is especially vulnerable.

13                  Unjustifiable pressure usually when

14            persons in position of authority or

15            commanding influence, especially where

16            possible sanctions are involved, urge a

17            course of action for a subject.    A continuum

18            of such influencing factors exist, however,

19            and it is impossible to state precisely

20            where justifiable persuasion ends and undue

21            influence begins.   Undue influence would

22            include actions such as manipulating a




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 1            person's choice through the controlling

 2            influence of a close relative and

 3            threatening to withdraw health services to

 4            to which an individual would otherwise be

 5            entitled.

 6                  The American Medical Association Code

 7            of Medical Ethics Opinion 2.1.1 states

 8            informed consent of medical treatment is

 9            fundamental in both ethics and law.

10            Patients have the right to receive

11            information and ask questions about

12            recommended treatments so they can make well

13            considered decisions about care.    Successful

14            communication of the patient-physician

15            relationship fosters trust and supports

16            shared decision making.

17                  At every stage of my training I have

18            had the principle of informed consent

19            reinforced. You require that I confer it on

20            our patients, and if I did not I would

21            rightly be justified for disciplinary

22            action. Instead we have convened this




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 1            hearing because, as a patient, you want to

 2            deny me informed consent. You want to exert

 3            the coercive pressure of the loss of my

 4            training and my livelihood on the question

 5            of whether I will take medicine that I don't

 6            want while I am pregnant. I would never, as

 7            a matter of medical ethics and morality, put

 8            my patients in such a situation, and, if I

 9            did, you would be justified in firing me.     I

10            do not see how you could think that this

11            could possibly be acceptable.

12                  I worked during the pandemic at this

13            hospital while pregnant with my first child

14            and became sick with COVID at just three

15            months postpartum while serving Northwell's

16            patients. I put myself and my family at

17            considerable risk to answer the call to

18            provide medical service in your facilities.

19            I have performed well in all of my tasks.

20            In the process of denying my legitimate

21            medical and religious objections to

22            vaccination, you are looking past all of the




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 1            things that make me a person, a human being,

 2            and you're reducing me to a single

 3            characteristic.     This is dehumanizing and I

 4            deserve better.

 5                   I have achieved natural immunity by

 6            becoming sick with COVID in Northwell's

 7            facilities. There is no evidence anywhere

 8            of a person with natural immunity conferring

 9            the disease on another person.      There's no

10            evidence of any health reason for me to take

11            the vaccine or be fired for not taking it,

12            not a shred, and HHS admitted this only days

13            ago.

14                   I have legitimate religious reasons

15            for declining the vaccine.    The law clearly

16            states that sincere religious beliefs are

17            easy to establish and that employers must

18            accommodate them.

19                   For all of these reasons I

20            respectively ask that you reverse your

21            termination decision and reinstate me.

22                   Thank you.




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 1                   DR. BARONE:    Thank you for your

 2            statement.

 3                   Dr. Sottile, now we move on to you, if

 4            you have any documents you want to present

 5            or witnesses you want to present.

 6                   DR. ZWEIFLER:    Just briefly.    There

 7            was a sentence I missed.     She said something

 8            admitted a few days ago.     What was that

 9            sentence? Admitted --

10                   DR. D'CUNHA:    That a letter that --

11                   DR. ZWEIFLER:    Can you just reread

12            that sentence?

13                   DR. D'CUNHA:    Sure. There is no

14            evidence of any health reason for me to take

15            the vaccine or be fired for not taking it,

16            not a shred, and HHS admitted this only days

17            ago.

18                   DR. ZWEIFLER:    Thank you.

19                   DR. SOTTILE:    Dr. Barone, the

20            testimonial outline that I have is just an

21            exhibit of contracts, statements, a fellow

22            -- a resident and fellow manual for which




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 1            all of the information is stating that our

 2            residents are supposed to follow Northwell

 3            policies. If you want me to go through it,

 4            I'll be happy to go through it.    I have all

 5            the exhibits labeled. It actually pertains

 6            to the fact that at Northwell we informed

 7            our residents in various exhibits that they

 8            are to be compliant with Northwell Health

 9            policies.

10                  The short end of it is that when

11            Northwell mandated the vaccine and Candice

12            did not get vacc'd, then she was in breach

13            of her contract.    But if you want me to go

14            through that, I'll be happy to go through

15            it.

16                  DR. BARONE:    I'll ask Dr. D'Cunha.     Do

17            you agree with the dates and timelines of

18            the letters that Dr. Sottile stated in his

19            opening statement, that you received letters

20            given the timeframe?    I think October 5th

21            and October 7th specifically were the dates.

22                  DR. D'CUNHA:     There was a letter that




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 1            I initially received on October 1st that was

 2            informing me of termination but it was

 3            backdated to 9/28.    On that day -- I was

 4            first told that I was terminated as of that

 5            day, and later on that day I was informed by

 6            Amy Durante that to hold on to my ID, not to

 7            turn it in yet, because as a resident I

 8            might possibly qualify for a later

 9            termination date, but I had no idea what

10            that date was at the time.

11                  I was also informed that I would

12            probably have access to an appeal.

13                  DR. BARONE:    Thanks.   Do you have

14            those -- maybe put those letters --

15                  DR. SOTTILE:    I can clarify that. On

16            October 5, 2021 Candice was provided a

17            letter reminding her that she needed to be

18            vaccinated or she would be terminated on

19            October 7th.   This letter gave her a final

20            chance to get vaccinated or she would be

21            terminated. That's Exhibit 11.     If you'd

22            like to pull that up, that's the October 5th




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 1            letter.

 2                  MS. BRUNSON:    I'm going to share my

 3            screen right now.

 4                  DR. BARONE:    Thank you.

 5                  MS. BRUNSON:    Can everyone see?

 6                  Dr. Sottile, is this the letter you're

 7            referring to?

 8                  DR. SOTTILE:    This is the letter -- I

 9            can't see the whole thing.    But yes, it was

10            delivered October 5, 2021.    That's it.

11            Correct.

12                  MS. BRUNSON:    Just tell me to scroll

13            when you need me to scroll.

14                  DR. SOTTILE:    You can scroll.

15                  So as you're seeing, in paragraph 2 it

16            explains exactly what we stated.

17                  If I can proceed.    She did not get

18            vaccinated as required, and then I gave

19            Candice a letter dated October 7th advising

20            her that because she was still not

21            vaccinated, she was being terminated and

22            being advised of the adverse action being




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 1            taken.   That's Exhibit 12 dated October 7th.

 2                  MS. BRUNSON:     Is this the letter that

 3            you're referring to?

 4                  DR. SOTTILE:     That's correct.   Can you

 5            scroll, please?     If you continue to scroll,

 6            my signature should be on the bottom.      There

 7            we go.

 8                  I spoke with Candice on October 8th

 9            when she acknowledged receipt and had an

10            opportunity to ask questions. That's

11            Exhibit 13, October 8th acknowledgement.

12            That's correct.

13                     I gave Candice an opportunity to ask

14            any questions at that particular time.      She

15            did not have any.    There really was not much

16            to discuss. We had been through it, and I

17            believe Candice knew that termination was

18            going to happen.    There wasn't much more to

19            say at that particular date.

20                     Following that, she requested the

21            review by e-mail on October 8, 2021, Exhibit

22            14, which is an e-mail to Amy Durante and




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 1            for which I was copied, and she stated her

 2            reasons for her review.

 3                      That's correct.    You can scroll.

 4                      These were the reasons that were

 5            given by Candice for the review.

 6                      Dr. D'Cunha was provided a notice of

 7            the review on November 4th, scheduled for

 8            November 22, 2021 at 9 a.m., and I was also

 9            copied. That's Exhibit 15, notice of

10            review.

11                      That's correct.    That's correct.

12                      DR. BARONE:    Thank you.   Are there

13            any additional documents you want to share

14            before we call the witnesses?

15                      DR. SOTTILE:   No.

16                      DR. BARONE:    Any members of the

17            committee, anything you particularly want to

18            see that Dr. Sottile hasn't put up?

19                      (No response.)

20                      DR. BARONE:    Okay.   Do you want, is

21            it Dr. Lowe, to come in first?

22                      DR. SOTTILE:   I believe so.   Dr.




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 1            Lowe for the medical exemption and then Ms.

 2            Kahaner will address the religious

 3            exemption.

 4                    DR. BARONE:    Gus, can we let Dr.

 5            Lowe into the group?

 6                    MR. PHILLIPS: Yes, sir.     We also

 7            have Ms. Kahaner in the waiting room.

 8                    DR. BARONE:    Thank you.

 9                    Dr. Lowe, welcome.

10                    MR. LOWE:   Good morning, everyone.

11                    DR. BARONE:    So the Program and the

12            Resident gave their opening statement.       The

13            Program presented a series of documents

14            outlining to Dr. D'Cunha the timeline of

15            adverse actions, and Dr. D'Cunha's document

16            for her appeal was shown. I think your role

17            for this committee is to talk about your and

18            the Program and the system's thought to Dr.

19            D'Cunha's objection to getting a vaccine

20            based on a medical exemption.

21                    MR. LOWE:   Okay.   Dr. Barone, who

22            else is on the line now?    Will I be




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 1            introduced? Are they on already?

 2                    DR. BARONE:    Everyone is on.   We

 3            have myself, the two other members of the

 4            committee, Dr. Sottile and Dr. D'Cunha, and

 5            then the medical transcriptionist and a

 6            couple of people helping with the technology

 7            and the documents.

 8                    MR. LOWE:    Very good. Thank you.

 9                    DR. BARONE:    Do you want to give us

10            your official title?

11                    MR. LOWE:    Good morning, everybody.

12            My name is Dr. William Lowe, I am the

13            medical director for Employee Health

14            Services with Northwell.    I have been in

15            this role for a little over ten years now.

16                    A little bit about my background.       I

17            am board certified in residency training in

18            occupational medicine with a master's degree

19            in public health as part of that. Again,

20            I've been in this role for ten years now.

21            This is sometimes referred to as Corporate

22            Employee Health Services. I have not direct




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 1            oversight but I have advice and guidance to

 2            all the Employee Health Service across the

 3            entire system, which number is seventeen.

 4                    In regards to the medical exemption

 5            process that was established by Northwell,

 6            that was centered in my office.   All medical

 7            exemptions from any employee anywhere in our

 8            health system were sent here to my office,

 9            Corporate Employee Health Service at 410

10            Bayville Road. This is where we processed

11            and took the information in regarding their

12            medical exemption.

13                    Under the guidance of our Clinical

14            Advisory Group, which is a very high senior

15            level clinical leadership group for

16            Northwell that has been in place since

17            January, February of `20 when COVID first

18            started to become a reality for all of us,

19            the Clinical Advisory Group was established

20            under the leadership of our senior vice

21            president for quality for Northwell, and

22            that group has been responsible, and I will




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 1            say for all things COVID, whether they are

 2            all clinical and administrative issues

 3            around COVID. Whether it was a patient care

 4            algorithm, treatment, management of

 5            employees, PPE, all the decision making,

 6            visitors, all the decision making that had

 7            to go around COVID and how that was going to

 8            be managed from an infection prevention and

 9            otherwise was managed by our Clinical

10            Advisory Group.

11                    When the mandate was coming along

12            and we knew that the mandate was coming, we

13            were prepared for it. The clinical advisory

14            group asked myself to establish a committee

15            that would look at all of our medical

16            exemption requests that came in.   I

17            established the committee, and that

18            committee was approved by the senior

19            Clinical Advisory Group for COVID.

20                    So we did a couple things.     Dr.

21            Barone, I did just kind of -- I put together

22            just some documents that I thought the




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 1            committee -- not a lot, just a handful of

 2            documents that I thought would be germane to

 3            the committee, if they haven't seen them

 4            before.

 5                      Document number 1 is just the New

 6            York State mandate.    10 NYCRR 2.61 is the

 7            name of it. That's a document that I do

 8            think that the committee should have a look

 9            at.   It's what dictated Northwell's

10            mandatory enforcement of the State's

11            mandatory guidelines. It's rather lengthy.

12            I mean it doesn't have to be read in any

13            great detail but I do think it's important

14            that the committee know that this was

15            established under New York State.

16                      I will tell you Northwell was very

17            much prepared to -- we were very close to

18            making a mandate of our own, a system

19            mandate, but we never got there because the

20            State sort of preempted the need for that.

21            We established our mandatory vaccination for

22            COVID underneath the State guideline.




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 1            There's really no particular point here that

 2            I think needs to be pointed out other than

 3            it's several pages of what New York State

 4            established.   So I'll just leave it at that.

 5            At some point, if the committee has any

 6            questions to me regarding that, I'll be more

 7            than happy to come back to them.

 8                   DR. BARONE:    Can I ask you one

 9            question? Is there any specific, in the

10            State guidelines, exemptions, medical

11            exemptions or criteria for medical

12            exemptions written in the guidelines?

13                   MR. LOWE:     There are not.   That's a

14            very good question.      There are no criteria

15            for exemptions.      That's something our

16            Clinical Advisory Group had to manage on its

17            own.   It's a very good question.     The State

18            does not dictate what is or is not a medical

19            exemption.   That's covered very much by the

20            CDC guidelines, which I'll reference later.

21                     DR. BARONE:     Thank you.

22                     MR. LOWE:    You got it.




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 1                     So folks, the next document that I

 2            want to show is just to demonstrate that our

 3            -- let me see here.      Document 2, the EHS

 4            policy. So we rapidly put this State

 5            mandate into our EHS policy, which is

 6            Exhibit 2.   This outlines, Dr. Barone, all

 7            the things that we require for Employee

 8            Health Service, the things you're familiar

 9            with, measles, mumps, rubella, annual

10            testing.   Whatever it may be. It's just our

11            general Employee Health Service policy.         We

12            did go ahead and immediately put that into

13            our policy. Again, I'm not pointing out any

14            particular paragraph or anything. I just

15            want the committee to be aware that we did,

16            in due diligence, make this part of our

17            policy. That would be under section B,

18            number 3, COVID vaccination.

19                   DR. BARONE:    Can we scroll to that,

20            please? Okay.

21                   MR. LOWE:     All right.   It would be

22            3-B.




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 1                  DR. BARONE:    Can you go back for a

 2            second? So specifically -- go up a little

 3            more. I saw that proof of -- it had to do

 4            with proof of immunity.

 5                  DR. LOWE:     Right.   That would have

 6            been for measles, mumps, rubella.

 7                  DR. BARONE:    Right. I think it

 8            specifically excludes COVID.

 9                  DR. LOWE:     Right.   COVID is proof of

10            adequate vaccination.

11                  DR. BARONE:    I just want to -- can you

12            find that again?

13                  MS. BRUNSON:     I'll scroll.    You let me

14            know where you see it.

15                  DR. BARONE:    I thought it would be

16            important based on -- go up a couple more.

17                  MR. LOWE:     Keep going down.

18                  DR. BARONE:    I think this is

19            important.   One of Dr. D'Cunha's statements

20            was about the adequacy of her own natural

21            immunity. This policy specifically excludes

22            that as being adequate --




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 1                  MR. LOWE:     It does.

 2                  Scroll down a little bit more.      So

 3            it's proof of adequate vaccination, whereas

 4            measles, mumps, rubella we have adequate

 5            immunity for vaccination. So thank you for

 6            pointing that out.

 7                  DR. EL-SAYEGH:      Does Northwell policy

 8            also state anywhere about any medical

 9            exemption?

10                  MR. LOWE:     No.   It was not in the

11            policy. That was all handled by procedure,

12            and that is in the medical exemption

13            request.

14                  DR. BARONE:     Okay.

15                  DR. LOWE:     It was not policy.   That

16            was more procedure than policy.

17                  DR. ZWEIFLER:       The decision to not

18            allow immunity, that was debated and a

19            discussed decision by the committee?      Can

20            you elaborate?

21                  DR. LOWE:     It was discussed.    It was

22            discussed.   I wouldn't say debated.     I think




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 1            the committee was unanimous.     The CDC

 2            guidelines clearly -- do not clearly state

 3            that you could be vaccinated following a

 4            history of COVID as long as you're well

 5            enough to be off of quarantine.     So very

 6            early on after COVID there are no

 7            contraindications to being vaccinated if you

 8            had a history of COVID.

 9                    So we can -- I think we're good with

10            that.

11                    I did want to go to Dr. D'Cunha's

12            medical exemption request.     I don't know if

13            you've already looked at that.     I can share

14            that with you.

15                    Dr. D'Cunha, it's kind of HIPAA but I

16            know it was submitted to the committee.       I'm

17            assuming it's okay with you if I reference

18            that. Is that correct?

19                    DR. D'CUNHA:   That's correct.

20                    DR. LOWE:   I have your permission?

21                    DR. D'CUNHA:   Yes.

22                    DR. LOWE:   So folks, here is the




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 1            process.   It had to be requested by the

 2            employee. The request came from -- it did

 3            come from Dr. D'Cunha.

 4                  If you could scroll down, Tamira.

 5                  There is some handwriting there.

 6            Folks, I will tell you my office -- you

 7            know, the entire committee took each of

 8            these medical exemption requests very

 9            seriously.

10                  You can stop right there, Tamira.

11            That's fine.

12                  I personally read everything that came

13            in from every single request. I looked at

14            the handwriting, the handwritten notes of

15            this medical accommodation request, you

16            know, to try and identify what the medical

17            concern was.   I didn't see a medical concern

18            here. This mostly spoke to I think some

19            State laws, some Federal laws and some other

20            type of concerns.   I did not see the medical

21            concern there.

22                  Tamira, if you scroll down, Dr.




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 1            D'Cunha did submit medical documentation,

 2            meaning a note from a physician.       By the

 3            way, also sent to us was this -- Tamira,

 4            keep going down.     This was her antibody

 5            level, greater than 250.       This is following

 6            her COVID.

 7                  DR. BARONE:     Can you tell me the date

 8            of this?

 9                  DR. LOWE:     Yes.

10                  DR. BARONE:     If you scroll up.

11                  DR. LOWE:     It looks to be --

12                  DR. BARONE:     8/3.    Okay.

13                  DR. SOTTILE:        Is there a statement

14            from her OB/GYN that he is in agreement with

15            Candice not receiving the vaccine?

16                  DR. LOWE:     No.    Quite the contrary.

17            Right here, this is the doctor's note.           So

18            this is from Dr. Christopher LaPorta.        I'll

19            read it.   Dr. D'Cunha, date of birth,

20            (redacted), is currently under my care for a

21            current pregnancy EDC 3/6/22. She currently

22            resides at 363 Graves Avenue, Staten Island




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 1            10314.   COVID antibodies on 8/3/21 greater

 2            than 250. Request delaying administration

 3            to after delivery.    I attest that I am not

 4            related to this patient.    Thank you for your

 5            consideration in this matter.

 6                  DR. SOTTILE:    That delay in

 7            administration until after her due date, was

 8            that considered?

 9                  DR. LOWE:     So our committee looked at

10            the issue of pregnancy -- the Clinical

11            Advisory Group looked at the issue of

12            pregnancy very seriously. Again, we looked

13            for the -- primarily to the CDC.      There is

14            no contraindication to being vaccinated

15            during pregnancy.    We felt as though if we

16            were going to follow the CDC guidelines, we

17            were going to follow the CDC guidelines for

18            all groups that the CDC guidelines address,

19            including people who are pregnant,

20            undergoing fertility and/or lactating.      The

21            CDC clearly states that it is not only a

22            contraindication but it's a recommendation.




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 1                  Folks, given any issue that may come

 2            up within the CDC guidelines, if we look to

 3            either support or contradict what the

 4            guidelines were saying, we would turn to a

 5            professional -- the professional

 6            organization that's most universally

 7            recognized as the entity to be an expert in

 8            that area.   So we looked at guidelines from

 9            the American College of Rheumatology if

10            there was a rheumatology related, American

11            Allergy, American College of Obstetricians

12            and Gynecologists.   We looked at all those

13            professional guidelines.   So although the

14            CDC was our primary document, very well

15            written, very extensive, really looking to

16            see what is a contraindication, why

17            shouldn't somebody be vaccinated, I don't

18            want to say that we only looked at the CDC

19            guidelines. We did look for outside

20            expertise, and of course we also looked

21            inward. At Northwell we have incredible,

22            incredible medical expertise in our health




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 1            system. We brought in experts from within

 2            our own health system and sought guidance

 3            from them when we thought it was necessary.

 4                  DR. ZWEIFLER:   After this letter are

 5            there more documents or that was the end of

 6            the medical exemption request?

 7                  DR. LOWE:   That was the end of --

 8            there is a -- there's an e-mail I have from

 9            Dr. D'Cunha on September 23rd.   It's more of

10            the same, quite frankly.   I don't really

11            think there's anything different or unique

12            in here.   It's basically a personal note --

13            in my opinion, a personal note about her

14            disappointment and things along those lines.

15            My office received no further medical

16            documentation, anything that was different.

17                  DR. D'CUNHA:    Dr. Lowe, may I just

18            point out a few things?    You mentioned that

19            in my medical accommodation request, that I

20            did not state anything about pregnancy.      In

21            my handwritten note, one of the first things

22            I say in there is I understand all of the




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 1            foregoing to reference and be in accord with

 2            current State and Federal law regarding

 3            pregnancy and/or disability and reasonable

 4            accommodation in the workplace.   I did

 5            mention the fact about pregnancy. There's

 6            also the note from my physician stating that

 7            I am pregnant. The e-mail that I provided

 8            with regard to my re-appeal shared a lot of

 9            articles and a lot of papers and studies

10            that were done which indicated that there

11            was still an ongoing effort to establish the

12            safety of the vaccine in pregnant women.

13            All four package inserts for all four

14            vaccines that are currently available

15            mention the fact that you need to discuss

16            this with your OB.   They also mention

17            enrolling in a clinical trial in order to

18            continue monitoring women to see the side

19            effects.   The various data websites posted

20            close to 3,000 miscarriages.   So I'm not

21            entirely sure where the safety establishment

22            has been declared in terms of pregnancy.




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 1                   DR. LOWE:     Noted.   I've established

 2             that the guidelines that the committee

 3             followed, there is no contraindication to

 4             pregnancy, and that was the standards by

 5             which we moved forward to the highest levels

 6             of the organization.

 7                   DR. EL-SAYEGH:     Can you share with us

 8             the CDC that you just mentioned about

 9             medical exemption, or what you referred to

10             earlier?

11                   DR. LOWE:     So it's the CDC -- it's the

12             interim clinical considerations for the use

13             of COVID-19 vaccination.     It's rather

14             lengthy.

15                   DR. BARONE:    Did you submit that to

16             the committee?

17                   DR. LOWE:     Actually, I did not.   I

18             mean it's -- it's easily available online.

19             If you'd like, I could get this to the

20             committee.

21                   DR. BARONE:    I think just the section

22             in regard to pregnancy may be useful to the




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 1             committee.

 2                   DR. LOWE:     Okay.   Is that something

 3             you want me to pause and work on now to get

 4             to you or we can get it to you after this?

 5                   DR. BARONE:    I think you can get it --

 6                   DR. LOWE:     How would I get something

 7             to the committee?    I do have somebody in my

 8             office that can help send stuff over.

 9                   DR. BARONE:    Why don't we try to work

10             on getting it before the meeting ends, this

11             way we can make sure everyone was privy to

12             that. Again, all I need is really the

13             section.    Maybe you can PDF the section on

14             pregnancy.

15                   DR. LOWE:     How can I get it to you?

16                   DR. BARONE:    Tamira, is there a way he

17             can e-mail that to you, a PDF, and you can

18             share it?

19                   MS. BRUNSON:     Dr. Lowe, do you have my

20             e-mail address, or do you want me to e-mail

21             you and you can reply?

22                   DR. LOWE:     Yes. Also e-mail it to




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 1             Tracy Striano, please.

 2                    MS. BRUNSON:    Okay.

 3                    DR. BARONE:    Thank you.

 4                    John, this is your witness. Is there

 5             anything else you want Dr. Lowe to try to

 6             comment on?

 7                    DR. LOWE:     Dr. Barone, I don't mean to

 8             interrupt.    This will be the section here.

 9             Can you read that?     I will ask my secretary

10             -- my administrative assistant to send it

11             over to you folks.     It's consideration

12             involving pregnancy, lactation and

13             infertility. Okay.

14                    DR. BARONE:    Terrific.

15                    DR. LOWE:     I can pause and ask her to

16             start working on that or I can stay with

17             you.

18                    DR. SOTTILE:    I'm just wondering if

19             there was any communication between EHS and

20             Dr. LaPorta regarding a decision and any

21             feedback from Dr. LaPorta, or was that just

22             end of story?




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 1                   DR. LOWE:     So folks, Northwell in

 2             general did a lot of education of physicians

 3             across the health system to sort of counter

 4             what we considered -- what we considered to

 5             be not the standard for our Northwell

 6             patients. You have to understand, most       --

 7             not all, not all exemptions came from

 8             Northwell Health.    We didn't have that kind

 9             of reach. We do have the weekly chief

10             medical officer update.    It's almost an hour

11             long. That goes out to all the physicians.

12             We did a lot of education on that.    Letters

13             from the chief medical officer.    Really,

14             quite frankly, asking physicians to stick by

15             known guidelines and expertise.

16                   So there were literally hundreds,

17             hundreds of medical exemption requests

18             across all sorts of different reasons.

19             Individually that would have been almost

20             impossible to do.    We did recognize as a

21             committee that there needed to be a lot of

22             education of our Northwell physicians, and




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 1             we did that through the chief medical

 2             officer.   So I don't know of an individual

 3             conversation, it didn't come from me of an

 4             individual conversation, with any physician

 5             with perhaps one or two exceptions where I

 6             needed to speak to them in order to --

 7             pregnancy and history of COVID was a very

 8             common request.   Our committee had looked at

 9             many, many of these.   We universally decided

10             that pregnancy, without some other medical

11             thing that would make us question it, in and

12             of itself was not a contraindication, and

13             again was supported by CDC, ACOG, our

14             obstetrical leadership.   And history of

15             COVID.   Those are two things that really

16             weren't even that challenging for the

17             committee because we felt as though there

18             was so much good guidance out there, solid

19             clinical guidance, that that didn't really

20             need individual -- I didn't really -- we

21             didn't really need to hear other opinions on

22             that was our position.    Okay.




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 1                   DR. D'CUNHA:    I just have one last

 2             question. What is the purpose of

 3             vaccination?   The COVID-19, what is the

 4             purpose of it?

 5                   DR. LOWE:     Dr. Barone, is this -- I'm

 6             not -- I'll answer if you'd like me to but I

 7             don't know the point of it right now, quite

 8             frankly.

 9                   DR. BARONE:    Just a short answer.    I

10             think since I'm going to -- you're going to

11             leave the committee, I think it's just --

12             it's due process to let Dr. D'Cunha at least

13             ask you a question or two.

14                   Dr. D'Cunha, I'm not going to let you

15             get into a big debate.

16                   DR. LOWE:     I would say particularly in

17             this setting of a global pandemic in a

18             healthcare institution where we are

19             absolutely responsible for the safety of our

20             patients, the purpose of the vaccine --

21             mandatory vaccine for healthcare workers and

22             Northwell's desire and obligation to enforce




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 1             that mandate was about keeping our patients

 2             safe. I will end my comments there.

 3                   DR. BARONE:    Dr. Lowe, I just want to

 4             -- you brought this up as a question in my

 5             mind. I just want to reemphasize it so I'm

 6             just a hundred percent crystal clear.        In

 7             general, all requests for deferral of

 8             vaccine based on pregnancy or prior immunity

 9             were --

10                   DR. LOWE:     Declined.

11                   DR. BARONE:    -- declined?   Would that

12             be a fair statement?

13                   DR. LOWE:     I would say there were

14             many, many, many, many in each of those

15             categories, and they were universally

16             declined as a reasonable medical exemption

17             based on the data that we have.     So yes.

18                   DR. BARONE:    Okay.   Dr. Sottile,

19             anything else for Dr. Lowe?

20                   DR. SOTTILE:     No.   We can bring on

21             Vicki Kahaner.

22                   DR. BARONE:    Dr. D'Cunha, anything --




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 1             I don't want to get into a debate of science

 2             here. Anything in regards to process or

 3             anything else you want to ask Dr. Lowe

 4             about?

 5                   DR. D'CUNHA:     No.   That's fine.    We'll

 6             get -- because the whole reason for getting

 7             the vaccine, the COVID-19 vaccine, is to

 8             establish antibodies. When you acquire

 9             COVID, you have antibodies.      I don't

10             understand why that is not accepted.        But as

11             Dr. Lowe mentioned, anybody who has had

12             COVID and who is pregnant was denied.        I

13             will leave it at that.

14                   DR. BARONE:    I just wanted to

15             establish that you weren't singled out for

16             any reason. That's what I wanted to make

17             clear to myself in my mind, that that was

18             kind of the policy.

19                   DR. BARONE:    Committee members,

20             anything else for Dr. Lowe before I let him

21             go?

22                   DR. EL-SAYEGH:     Dr. Lowe, did you




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 1             request from Dr. D'Cunha to get you more

 2             medical evidence why she needed to be exempt

 3             from the vaccine or her request was declined

 4             and that was it?

 5                   DR. LOWE:    I'm sorry, Doctor.   I

 6             apologize.   I don't fully understand the

 7             question.

 8                   DR. EL-SAYEGH:     Based on the letter

 9             that was submitted by the OB/GYN, did you

10             feel that she needed -- you needed or the

11             committee needed more information why she's

12             to be exempt from the vaccine besides the

13             fact that she's pregnant and she did not

14             provide you with this information or the

15             sole reason --

16                   DR. LOWE:    No.   I would say honestly,

17             honestly -- again, we had so many of these

18             very similar pregnancies with a history of

19             COVID or just a history of COVID. We had

20             debated that so many times and we had such

21             tremendously solid guidelines.    I mean ACOG

22             strongly recommended -- I mean the language




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 1             is very clear. CDC, the language is very

 2             clear, strongly recommend.          I didn't feel it

 3             was necessary in this particular case to go

 4             back and establish anything with this

 5             doctor. There was no detail. There was no

 6             further decision making that really needed

 7             to be here from our opinion.         Both of these

 8             were, as I said, common, and they were

 9             denied as medical exemptions to the

10             vaccination almost universally.

11                     DR. BARONE:    Okay.   Thank you, Dr.

12             Lowe.

13                     DR. LOWE:     I'm going to be sending

14             this to you right now.

15                     DR. BARONE:    I appreciate it.

16                     DR. LOWE:     Procedurally I'm going to

17             stay -- I'll go back to the waiting room and

18             wait to hear from you or am I done?

19                     DR. BARONE:    Would it be -- can you do

20             other work while you're in the waiting room?

21                     DR. LOWE:     Absolutely.    Absolutely.

22                     DR. BARONE:    I don't think I'll need




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 1             to recall you but I would appreciate you

 2             hanging around while you do your other work

 3             just in case.

 4                   DR. LOWE:     If I'm gone -- I'm in the

 5             clinic today, as you can tell by my dress.

 6             We're a skeletal staff.      I'm trying hard to

 7             get my staff out on some vacation after all

 8             this time. I'm going to pop my head in the

 9             clinic. I'll be checking very, very

10             frequently.

11                   DR. BARONE:    I appreciate your time.

12                   DR. ZWEIFLER:    Can I ask a final

13             question?

14                   DR. BARONE:    Sure.

15                   DR. ZWEIFLER:    I'm just curious.   It

16             sounds like, if I understand correctly, that

17             Dr. D'Cunha presented some articles or some

18             data about miscarriages in pregnancies.      Did

19             the committee review the data she presented

20             and look at that or -- I don't know if I'm

21             understanding exactly what happened with

22             that evidence you guys looked at.




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 1                    DR. LOWE:   So again I'm going to go

 2             back to what we used to look or to see if

 3             there was a guidance of the recognized

 4             entities. Again, that was the American

 5             College of Obstetricians. Even the Maternal

 6             Fetal Society. If you started going out

 7             into the internet sphere to look for a

 8             reason not to get vaccinated, you could find

 9             it.   We really felt as though this had to be

10             based on truly the established guidelines

11             and those well recognized, respected

12             professional entities.   Again, there's so

13             much information out there.   I'm not going

14             to say necessarily misinformation, but a lot

15             of it is misinformation that -- we did not

16             take every article or every internet site or

17             every -- everything that somebody could find

18             out there back to the committee for

19             discussion. We did not feel as though that

20             was an approach for us enforcing a State

21             mandate, for not just pregnancy but for

22             anything.




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 1                   DR. SOTTILE:     But your committee did

 2             look into the validity of those particular

 3             articles that Candice sent?     Was that looked

 4             into or were they just discarded? Were

 5             those articles looked at and the validity of

 6             those articles?

 7                   DR. LOWE:     They were. They were

 8             reviewed by the committee, but I would not

 9             use your terminology of discarded.

10             Honestly, if it wasn't from one of the

11             recognized -- I don't know what society --

12             the recognized society of podiatric surgery,

13             or whatever that may be.    You really could

14             tell from the outset that -- those were the

15             guidelines that we used.    The term

16             discarded, like I said, I read everything

17             that came in. Everything was sent to the

18             committee, so --

19                   DR. SOTTILE:     Thank you.

20                   DR. BARONE:    Thank you.

21                   Okay. So I'm going to ask Dr. Lowe to

22             be removed from the meeting.      He's going to




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 1             remain on standby.

 2                    Can we, Gus, put the next witness up?

 3                    MR. PHILLIPS:     Dr. Lowe, if you look

 4             at the bottom of your screen there will be a

 5             breakout room icon.

 6                    DR. LOWE:     I do not see that.

 7                    MR. PHILLIPS:     Do you see the invite

 8             now?

 9                    DR. LOWE:     I see there's a drawing of

10             an icon for the head and shoulders. Maybe I

11             should move my picture.

12                    MR. PHILLIPS:     Give me one second.

13             I'll close the rooms and then I'll reassign

14             you.

15                    Do you want me to wait before I let in

16             Ms. Kahaner?

17                    DR. BARONE:    No.   You can let her in

18             right away.

19                    (Whereupon, an off-the-record

20             discussion was held.)

21                    DR. BARONE:    Ms. Kahaner, can you

22             spell your name for the court reporter?




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 1                   MS. KAHANER:    K-A-H-A-N-E-R.

 2                   DR. BARONE:    Can you give her your

 3             title, please?

 4                   MS. KAHANER:    Absolutely.   I'm vice

 5             president of Employee Relations for

 6             Northwell Health.

 7                   DR. BARONE:    I understand you're here

 8             because you helped make determinations or

 9             you and others helped make determinations on

10             religious exemption requests in regard to

11             the COVID-19 vaccine mandate.

12                   MS. KAHANER:    Correct.   Part of my

13             team is the Advice and Council Center.        The

14             Advice and Council Center is a centralized

15             department that manages employee relation

16             issues throughout the organization, such as

17             disciplinary, advice for managers,

18             investigations, as well as accommodation

19             requests that come in.

20                   DR. BARONE:    Okay.   Dr. Sottile, do

21             you want to ask your witness any questions

22             or let her make a statement?     It's your




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 1             witness.

 2                   DR. SOTTILE:      I think, Vicki, if you'd

 3             like to make a statement to inform us

 4             exactly what Dr. D'Cunha's religious

 5             exemption request was.

 6                   MS. KAHANER:      Sure. Do you want me to

 7             go to her request or do you want me to go

 8             through the process that we --

 9                   DR. SOTTILE:      You can go through the

10             process.   Thank you.

11                   MS. KAHANER:      Sure. So I want to

12             start first with where we were as an

13             organization in regard to the mandate and

14             the religious exemptions.

15                   Tamira, I think you have an Exhibit 5.

16             If we want to put that up.     Exhibit 5 is a

17             series of e-mails that are dated between

18             August 2nd and October 4th.     So in total

19             there are eight e-mails in here that were

20             sent, some to the entire organization and

21             some to those that were just not vaccinated.

22             So very quickly I'll take you through the




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 1             dates of each of the letters in the order

 2             that they are listed in Exhibit 5.

 3                   August 2nd was an e-mail that was sent

 4             to all team members informing them that we,

 5             as an organization, are mandating the

 6             vaccine, and that mandate will be in effect

 7             as of August 16th.   Failure to be vaccinated

 8             would lead to weekly PCR testing. And so

 9             that was the first announcement that went

10             out, and that was sent by Michael Dowling

11             and Mark Solazzo.

12                   The second letter was dated August

13             10th. These were all sent by e-mail to

14             employees' e-mail addresses in the

15             organization. The August 10th was sent to

16             those team members that were still not

17             vaccinated, reminding them that we have a

18             mandate in place effective August 16th, and

19             failure to be vaccinated by that date would

20             lead to weekly PCR testing, just putting it

21             out there one more time to them.

22                   Then the third letter is August 18th,




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 1             and this was sent right after the State

 2             mandate was announced.   It was informing our

 3             team members about the State mandate, and

 4             PPE, and the date of the requirement to have

 5             the vaccine as per the State mandate, as

 6             well I think in here we give information

 7             about how to get the vaccine. We might also

 8             in here talk about the PCR testing that has

 9             to be done by everyone between that date and

10             the 27th.

11                   Then there was a September 3rd e-mail

12             that was a reminder e-mail about the testing

13             requirement and the vaccine requirement.      A

14             lot of similar information.   That went out

15             on September 3rd.

16                   September 15th we sent out another

17             e-mail because there seemed to have been a

18             lot of confusion in regards to a temporary

19             restraining order that the court had issued

20             in regard to religious exemptions.   We

21             wanted to inform the team members that we

22             will be compliant with the law and tried to




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 1             explain exactly what that temporary

 2             restraining order meant.   A lot of people

 3             were under the impression that the mandate

 4             was put on hold, so we were making an

 5             attempt to make sure that everybody was

 6             aware it was still 9/27 as to the date that

 7             it must be complied with, that we were

 8             continuing to receive religious

 9             accommodation requests and that we would be

10             determining what we would do for those as

11             time moved forward.

12                   The next e-mail that was sent was on

13             the 21st of September, and this was

14             announcing to all team members what our

15             operational plans were as we approached the

16             9/27 deadline date and to ensure everybody

17             -- to ensure everybody that we had a plan in

18             place and we were ready operationally to

19             deal with anything that might come about.

20                   The 9/28 e-mail was informing team

21             members that were not vaccinated that the

22             termination -- if failure to get the




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 1             vaccination at that point was going to be

 2             leading to termination, and announcing also

 3             that we had terminated several leaders

 4             already for not being vaccinated.

 5                   And then on the 4th -- the final

 6             e-mail in this packet was on October 4th

 7             informing everybody that we had reached a

 8             hundred percent compliance with the vaccine

 9             mandate and the only outliers for those

10             would be pending exemption requests.     I'm

11             not sure if that's in the e-mail but that

12             was our position at that point in time.

13                   So that's Exhibit 5.   You'll have the

14             opportunity to read those, I'm sure, after

15             this hearing.

16                   We had put a plan in place as to how

17             we would manage religious exemptions.     We

18             had created a form that could be utilized by

19             individuals requesting religious exemption.

20             That form was to be given to their local

21             site HR who would then forward it to the

22             Advisory Council Center, which is my team.




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 1             We would open up a case and we would manage

 2             it going forward from there.

 3                   We had many discussions with senior

 4             leadership as well as the clinicians, the

 5             top clinicians in the organization, about

 6             how we wanted to manage religious exemption

 7             requests and what the law required.   What we

 8             talked about was the safety of our patients

 9             and the rest of the team members to have

10             unvaccinated individuals continue to work in

11             the workplace, and felt that we were putting

12             people at risk unnecessarily. So the

13             decision was that anybody that put in a

14             religious exemption request at that point,

15             meaning after the TRO was issued, we would

16             be denying those requests that came in for

17             anybody that was patient facing or that we

18             believed would be putting others at risk if

19             they continued to work in the workplace.     So

20             that was a decision that came about after

21             significant discussion as to the protection

22             that we wanted to give our patients and the




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 1             expectation our patients had.

 2                   So I think, Tamira, if you can put up

 3             Exhibit 6.

 4                   Exhibit 6 will show you the form

 5             itself that we asked everybody to fill out.

 6             This is the resident form that was signed on

 7             September 3rd. I don't believe my team

 8             received it for a couple weeks. I'm not sure

 9             where the delay might have been, but we

10             received it on the 30th of September and

11             opened a case. You can see in here that she

12             changed some of the language, or, you know,

13             wrote some additional language on to the

14             team acknowledgement.

15                     If you scroll down you will see her

16             specific -- on the next page will be her

17             specific request for a religious exemption.

18             I'm sorry.   It must be the third page.    So

19             on the third page she describes why she's

20             objecting on religious grounds for the

21             religious -- why she's requesting the

22             religious exemption, and she sets forth her




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 1             objection to have any vaccine that had fetal

 2             cells involved in the development of it.         So

 3             this is what we had from her and this is

 4             what we accepted from her.

 5                     Then what I can say is that we

 6             accepted her statements as legitimate.      We

 7             did not -- we did not pushback or object to

 8             what she was saying.   We took it as fact

 9             that she did have a sincere health belief,

10             and then we moved on to the next part of the

11             analysis which was would it create an undue

12             hardship.

13                   And then, Tamira, if you can put up

14             Exhibit 7.

15                   Exhibit 7 is the religious exemption

16             denial that my team sent out on behalf of HR

17             informing her that we had received it.      We

18             talk about the State mandate in there and we

19             talk about why we are denying it, which was

20             that we believed it created an undue

21             hardship because she is patient facing and

22             dealing directly and caring for patients,




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 1             which was consistent with the determination

 2             that we made as an organization to what

 3             would constitute an undue hardship for us.

 4             This was dated on October 1st.   I'm not sure

 5             when she received it but it was likely that

 6             the e-mail went out with this attached on

 7             October 1st.   That was the denial.

 8                      So that was our process and that

 9             was the timeframe.   I'm not sure exactly

10             what occurred after that. I wasn't involved.

11             This was the religious exemption process.

12                   I'd be happy to answer any questions.

13                   DR. SOTTILE:   I have a question.     Did

14             you consider Dr. D'Cunha's religious

15             exemption based on her individual request or

16             had you already made up your mind that

17             Northwell was no longer accepting any

18             religious exemptions and that she was going

19             to be predetermined to be denied?

20                   MS. KAHANER:   No.   We accepted -- so

21             there was a period of time where the State

22             had indicated that they would not be




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 1             permitting religious exemptions.   That was

 2             in August.   At that point in time we were

 3             denying religious exemptions because the

 4             State said they would not be permitting

 5             them. Then the temporary restraining order

 6             was issued in December, and so anybody that

 7             had received a denial was reconsidered based

 8             on the fact that there was a temporary

 9             restraining order issued. So the

10             determination was made pursuant to the

11             guidance by the courts on religious

12             exemptions as to once you determine that

13             it's sincerely a health belief, as I stated

14             earlier we took the position it was a

15             sincere health belief, we would consider it

16             under the guidance of the EEOC and the

17             Federal courts as to whether or not an undue

18             hardship would be presented if we were to

19             grant it. It was determined that clinicians

20             that were patient facing, anybody that was

21             unvaccinated in that scenario would create

22             an undue hardship.   So we did consider it




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 1             fully and consistent with the guidance by

 2             the courts.

 3                   DR. SOTTILE:    Did you accept any

 4             religious exemptions from any physician or

 5             resident fellow in direct patient contact?

 6                   MS. KAHANER:    So we accepted the

 7             submission, but anybody that -- again,

 8             anybody that had direct patient contact

 9             would have been denied regardless of title.

10             It would have been physicians, nurses, PCAs.

11             Anybody that was going to be dealing

12             directly with patients was denied.

13                   DR. SOTTILE:    Thank you.

14                   DR. BARONE:    What is the current state

15             of affairs in regards to religious

16             exemptions in New York, you know, by the

17             courts?

18                   MS. KAHANER:    So the Second Circuit

19             issued a determination in regard to two

20             cases.    I don't know exactly, you know, what

21             date it was issued.    Essentially it

22             supported the position that we took in




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 1             regard to anybody that is dealing directly

 2             with patients would be creating an undue

 3             hardship if they were not vaccinated.       I

 4             know that there is language in the Second

 5             Circuit decision that does support the

 6             position that we did take.

 7                   DR. BARONE:    Would you say that your

 8             -- I don't know if these are the right words

 9             -- your hands are tied by the State, that

10             you really don't have an option of offering

11             religious exemptions?

12                   MS. KAHANER:    I wouldn't say that. I

13             think that as an organization we had come to

14             that conclusion prior to the court issuing

15             that decision. When the decision was issued

16             we felt very validated because it was the

17             same reasoning that we went through as to

18             make those determinations.    So I would say

19             that our decision was supported by the

20             courts.

21                   We are still reviewing religious

22             exemptions that are currently pending for




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 1             those people that are not patient facing.

 2             So we are still reviewing some.     There are

 3             still some that are pending out there.

 4                   I don't know if that answered your

 5             question or not.

 6                   DR. BARONE:    It does.    I don't know if

 7             -- is the State mandate, again for receiving

 8             the COVID vaccine, only for patient-facing

 9             employees or is it for all?

10                   MS. KAHANER:    It's for people that

11             work in covered entities. Covered entities

12             are Article 28s.    There's a whole list of

13             what is considered a covered entity.     Then

14             the covered personnel are those that work

15             within the covered entities.

16                   DR. BARONE:    I got it.

17                   MS. KAHANER:    That's the State

18             mandate.   Our mandate was for every employee

19             within Northwell regardless of whether or

20             not they were in a covered entity pursuant

21             to the State mandate.

22                   DR. BARONE:    Dr. Sottile, any




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 1             additional questions?

 2                    DR. SOTTILE:    No, thanks.   None for

 3             me.   Thank you.

 4                    DR. BARONE:    Committee members?

 5                    DR. ZWEIFLER:    No.

 6                    DR. BARONE:    Dr. D'Cunha, since I'm

 7             going to let the witness leave in a second,

 8             do you want to ask her a question?

 9                    DR. D'CUNHA:    I just want to clarify

10             with regard to the blurriness in regards to

11             my religious exemption submittal. I had

12             actually submitted it in the first week of

13             September.   On September 30th I was

14             contacted by Kate Rafla who told me that

15             they could not find my religious exemption.

16             I had turned it in to the Northwell Health

17             site HR office.      I was told at the time that

18             religious exemptions weren't being accepted

19             but that a copy of my religious exemption

20             was made and that it will be kept with my

21             file. So then I was reached out to on

22             September 30th by Kate Rafla. I had no idea




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 1             that my copy of my religious exemption had

 2             been misplaced.   I had sent it to her late

 3             that evening via fax. It was sent to Kate

 4             Rafla, and then the very next day, in the

 5             morning, in the middle of seeing patients, I

 6             received an e-mail saying that my religious

 7             exemption was denied and within the hour I

 8             was told that I would be terminated as of

 9             that day.

10                   So I just wanted to clarify that

11             timeline because that part was not known.

12                   MS. KAHANER:    And that would be

13             correct.    I just want to add that at the

14             time on the 3rd we were not accepting

15             religious exemptions because a TRO had not

16             yet been issued and the State had said that

17             no religious exemptions would be permitted.

18             That makes sense that the site would not

19             have forwarded it to my office.    Then when

20             things opened up again after the TRO, there

21             were some individuals that had requests that

22             didn't make it in, but eventually every




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 1             request did make it to us and was

 2             considered.

 3                   DR. BARONE:    Thank you. Is it

 4             possible that you can hang out in the

 5             waiting room in case we need to recall you?

 6             I don't know if I need to.     I don't know if

 7             you have another place you need to go to.

 8                   MS. KAHANER:    I am fine to hang out

 9             for a least another hour, hour and fifteen

10             minutes.

11                   DR. BARONE:    Good.   I don't think it

12             will be longer than that. I appreciate you.

13             Go do your work and we'll recall you in case

14             there's any clarifying issues we need.

15                   MS. KAHANER:    Thank you very much.

16                   DR. BARONE:    I appreciate it.

17                   Dr. Sottile, any other witnesses or

18             comments or anything you want to show the

19             committee?

20                   DR. SOTTILE:    No. I think we have all

21             the facts on the table.      There's not much to

22             discuss here. It was a mandate, and




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 1             unfortunately Candice did not follow that

 2             mandate so we had to pursue this as an

 3             adverse action -- unusual adverse action.

 4             It has to be taken as an adverse action if

 5             we're not following the policy.      So I have

 6             nothing further.

 7                   DR. BARONE:    Thank you.

 8                   Do any committee members have anything

 9             to ask Dr. Sottile in regards to his

10             presentation?

11                   DR. EL-SAYEGH:    I just have a quick

12             question. Which exemption was filed first,

13             the religious one or the medical one?

14                   DR. D'CUNHA:     The religious one first

15             and then the medical one after that.

16                   DR. EL-SAYEGH:    Thank you.

17                   DR. BARONE:    Okay.   So I think we turn

18             the meeting now to Dr. D'Cunha.      You now

19             have the opportunity to present witnesses or

20             documents that you want to share that

21             haven't been shared with the committee

22             already.




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 1                   DR. D'CUNHA:     So I don't have any

 2             witnesses.   As far as some of the links and

 3             the things that I spoke about earlier in my

 4             earlier statement, I can send that over to

 5             Tamira once I get her e-mail address.        I can

 6             send that over so you can have that to look

 7             over. I can also send you the links to the

 8             articles that I did talk about in my medical

 9             exemption re-appeal.    I do think if we're

10             going to accept some studies but neglect

11             others, then that's not really looking at

12             the science itself.    It's kind of being

13             biased in that regard.    If we're looking at

14             articles, we need to consider all articles.

15             We need to look at the various data.     Once I

16             get Tamira's information, I can send all of

17             those things over.

18                   With regard to the decision that

19             Northwell has currently taken terminating my

20             employment and my training, it just -- right

21             now, as of this point in time, it feels that

22             if you have a religious belief and if you




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 1             are pregnant, you are not being considered

 2             as a person or as an individual.    You are

 3             being considered as a number, as somebody

 4             who can only do harm to patients.

 5                   Last year, before the vaccines were

 6             there, we all worked without a vaccination.

 7             We took precautions, we worked and we did

 8             the best we could, and I did that again

 9             while being pregnant.

10                   To me it's not a very difficult

11             situation to see that yes, there was a

12             mandate put out, but we don't treat

13             individuals based on a general assumption.

14             For instance, we see a lot of diabetic

15             patients. Not every single diabetic patient

16             that comes in gets the same medication to

17             control their blood sugar levels. Everybody

18             is different and they get different

19             medications or different cocktails of

20             medications based on their individual health

21             and based on the fact that that's how we

22             treat and go about in medicine.




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 1                   The fact that I am questioning things.

 2             The fact that I'm saying look at me as an

 3             individual and treat me as a human being is

 4             not being taken into consideration.   I ask

 5             for you to take that into consideration when

 6             making your decision.

 7                   DR. BARONE:    Thank you.

 8                   DR. SOTTILE:    I would just like to add

 9             that Dr. D'Cunha was in good standing.       She

10             had completed all of her milestones

11             successfully through her PGY one year.       She

12             was a good resident and was here working

13             throughout the COVID during the deployment.

14             So I would just like to add that, that, you

15             know, she -- her qualifications and her

16             milestones were all met and there was no

17             problem ever with Dr. D'Cunha.

18                   DR. BARONE:    Thank you.

19                   MS. BRUNSON:    Dr. D'Cunha, is your

20             e-mail address candiceres90@gmail.com?

21                   DR. D'CUNHA:    Yes.

22                   MS. BRUNSON:    I just e-mailed you my




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 1             information.

 2                     DR. D'CUNHA:     I will send everything

 3             over.

 4                     DR. EL-SAYEGH:    Just one question.

 5                     DR. BARONE:    Okay.   Tamira, do you

 6             have that CDC document yet that Dr. Lowe was

 7             going to send over?

 8                     MS. BRUNSON:     I just got it.   Do you

 9             want me to pull it up?

10                     DR. BARONE:    Don't pull it up yet.       I

11             think we have a question. Be ready in a

12             second.

13                     Did you have a question, Dr.

14             El-Sayegh?

15                     DR. EL-SAYEGH:    Yes.   Did Employee

16             Health share with you the articles and the

17             guidelines from ACOG and from the CDC that

18             they followed to make that decision of

19             declining your medical exemption?

20                     DR. D'CUNHA:     Are you asking if I was

21             sent any of those articles?       No, I wasn't.

22                     DR. BARONE:    Okay.   Tamira, can you




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 1             put up that article just so we can have it

 2             on the record that we viewed it?

 3                   I think we have to scroll down to -- I

 4             think it's a big -- I'm looking for

 5             something with -- right there.     Good.    Go up

 6             a little bit so we can just read the first

 7             paragraph.   Scroll back up a little bit.

 8             Thanks. Scroll up a little bit to the

 9             pregnancy section.    Continue to scroll.     You

10             can continue to scroll, please.    Thank you.

11                   Dr. D'Cunha, can I ask you a question?

12             Have you received what would be considered

13             routine vaccines in the past?

14                   DR. D'CUNHA:    Yes.

15                   DR. BARONE:    So like flu vaccines, all

16             the other ones that --

17                   DR. D'CUNHA:    Last year I declined the

18             flu shot because I was pregnant.    So I

19             declined the flu vaccine then.

20                   DR. BARONE:    Traditionally you get the

21             flu vaccine and the DTaP and the other ones?

22             I guess I would refer to them as traditional




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 1             vaccines.

 2                     DR. D'CUNHA:    Yes.

 3                     DR. BARONE:    You can stop screen

 4             sharing, please.      Thanks, Tamira. It makes

 5             it easier for me to see everyone's face.

 6                     You said you had a previous child?

 7                     DR. D'CUNHA:    Yes.   I had my first

 8             child October of last year.      I'm currently

 9             pregnant with my second child.

10                     DR. BARONE:    Does this pregnancy

11             differ in regards to -- I guess I assume

12             your first child -- your first pregnancy

13             was, I don't want to use the word routine.

14                     DR. D'CUNHA:    Yes.

15                     DR. BARONE:    I would assume the second

16             pregnancy, again and please excuse my term

17             routine, but I know being pregnant is not a

18             routine thing.

19                     DR. D'CUNHA:    Right.   So far

20             everything, by the grace of God, has been

21             fine.

22                     DR. BARONE:    Okay, good.   And if you




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 1             weren't pregnant would you have elected to

 2             receive the vaccine?

 3                   DR. D'CUNHA:     My religious belief does

 4             not want me to do that.    I have been a

 5             practicing Catholic my entire life.    Ever

 6             since I have learned of the involvement of

 7             aborted fetal cells in the use of the

 8             vaccine production or in terms of testing, I

 9             have tried to stray away from those vaccines

10             and find ethical alternatives, not only for

11             myself but for my first born. Whenever a

12             reason arises to wait to the ethical vaccine

13             comes out, I will be waiting until an

14             ethical vaccine comes out.    So I am against

15             the fact that children who are unborn and

16             have no say in the matter have been used

17             without their information, without their

18             consent in the production of vaccines.       It

19             doesn't feel right to me. It doesn't sit

20             well with my religious practices or my

21             beliefs.   I wouldn't get it either way.

22                   DR. BARONE:    So if -- I think your




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 1             OB/GYN's statement said delay vaccine until

 2             after you're not pregnant.

 3                   DR. D'CUNHA:      He mentioned delay.

 4             That was based on a medical perspective and

 5             what he thought.    It's not necessarily

 6             reflecting my religious belief.     That was

 7             what he thought in regards to from a medical

 8             standpoint.

 9                   DR. BARONE:      Right. My comment is so

10             you -- after you've delivered you're not

11             planning on receiving the vaccine based on

12             your religious --

13                   DR. D'CUNHA:      Based on my religious

14             beliefs.    Correct.

15                   DR. BARONE:      Even if they say, you

16             know, a reason for subsequent employment?

17                   DR. D'CUNHA:      Could you repeat the

18             last sentence?

19                   DR. BARONE:      I guess potentially after

20             you deliver, if the medical exemption goes

21             away --

22                   DR. D'CUNHA:      Right.




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 1                   DR. BARONE:    -- and someone offered

 2             you a job but you needed the vaccine, you

 3             would not get the vaccine in order to be

 4             employed?

 5                   DR. D'CUNHA:     Correct.   If there was

 6             an ethical alternative, I would take that

 7             into consideration.    As of now all four

 8             vaccines that are available have used

 9             aborted babies in terms of the production or

10             in terms of testing.    So at this time; no, I

11             would not.

12                   DR. BARONE:    So I would assume that

13             although you filed both a medical and a

14             religious exemption, I don't know if this is

15             the right word, but the religious exemption

16             is the more defining one in your decision

17             not to get the vaccine based on what you're

18             telling me now?

19                   DR. D'CUNHA:     I think I would have

20             liked both to be taken into consideration,

21             because at this point in time they have

22             halted my training in October whereas if the




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 1             company had considered my medical exemption

 2             I would have been almost through with my

 3             second year of training.     Now one-third of

 4             the way, or less than one-third of the way

 5             through my second year they are holding my

 6             training, holding my health insurance,

 7             holding my income.     My daughter was a

 8             dependent on my health insurance, and that

 9             was taken away from her as well.     So a lot

10             has been taken away from me in this process.

11                    DR. BARONE:    I understand the medical

12             exemption would have helped continue your

13             benefits until that time.

14                    DR. D'CUNHA:    My benefits, my

15             training. I mean we've all been through

16             this process. We put in years of not just

17             sacrifice and time and income and all sorts

18             of things, but there's hard work put into it

19             too.   Why would anybody want their training

20             to be halted midway through?

21                    DR. BARONE:    I appreciate that.

22                    I think some of the committee members




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 1             were trying to ask questions. I'll be quiet

 2             and let you guys go.

 3                     DR. SOTTILE:   Candice, I just want the

 4             committee to understand that you have an

 5             understanding that your career may be

 6             terminated if you fail to get vaccinated in

 7             the future. I just want the committee to

 8             understand that you do understand that if

 9             you decide not to be vaccinated, your whole

10             career may be terminated. You do understand

11             that?

12                     DR. D'CUNHA:   I understand to the

13             extent that as of right now there is no

14             accommodation for someone's religious

15             exemption being made. So if a religious

16             exemption was to be accepted, because that

17             conversation has been changing on a weekly,

18             monthly basis. To that effect, if that

19             decision was to change once again in the

20             court system, then anybody who was

21             terminated for a religious exemption not

22             being accepted should be reconsidered again.




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 1                   DR. ZWEIFLER:    About supporting

 2             documentation from a religious leader, I am

 3             not sure if I'm misinformed but my

 4             understanding was that the head of the Roman

 5             Catholic religion did not support that

 6             position.

 7                   DR. D'CUNHA:    Yes.   So the pope is not

 8             infallible. He can make an opinion but he

 9             is not infallible.    Every person, every

10             Catholic, every practicing Catholic, we are

11             part of the Catechism of the church.      The

12             pope can have an opinion, and I do respect

13             the pope for his opinion, but he is not

14             infallible. I think that's something one

15             has to take into consideration.    This was an

16             opinion on a medical matter, not a faith

17             matter. That has to be taken into

18             consideration. That's part of our Catechism

19             as well.

20                   DR. ZWEIFLER:    Was there an

21             alternative religious support for this

22             position?




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 1                   DR. D'CUNHA:     There has been a split

 2             within the Catholic church on the opinion

 3             regarding the vaccination because there is

 4             the matter of the aborted babies being used

 5             and continuing to be used in the production

 6             or testing of the vaccine.    Until an ethical

 7             form of testing and production is taken into

 8             consideration, this vaccine is not going to

 9             be fully accepted by everybody in the

10             Catholic church.    I think when an ethical

11             alternative comes into play, then we can

12             talk some more.     Until then, the court has

13             -- the court should rule to allow people to

14             have a religious belief, because if we don't

15             have our religious beliefs than where is our

16             freedom to believe in what we believe in?

17                   DR. BARONE:    Dr. El-Sayegh, do you

18             have any last questions for Dr. D'Cunha?

19                   DR. EL-SAYEGH:    I'm okay.   Thank you.

20                   DR. BARONE:    If there's no objection,

21             I'm going to -- don't close out, Gus. I may

22             want to have the committee members stay on.




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 1             If I have no objection, I'm going to adjourn

 2             the meeting.   Any objection?   Dr. D'Cunha?

 3                   DR. D'CUNHA:    No.

 4                   DR. BARONE:    Dr. Sottile?

 5                   DR. SOTTILE:    No.

 6                   DR. BARONE:    All right. So Michelle,

 7             you can have the meeting as brought to a

 8             close.

 9

10                   (Whereupon, the proceedings were

11             concluded at 10:40 a.m.)

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 1

 2                    C E R T I F I C A T I O N

 3

 4

 5                   I, MICHELLE CONERO, a Notary Public

 6      for and within the State of New York, do hereby

 7      certify:

 8                   That hereinbefore set forth is a true

 9      record of the proceedings.

10                   I further certify that I am not

11      related to any of the parties to this proceeding

12      by blood or by marriage and that I am in no way

13      interested in the outcome of this matter.

14                   IN WITNESS WHEREOF, I have hereunto

15      set my hand this 1st day of December 2021.

16

17

18

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20                     _________________________
                               MICHELLE CONERO
21

22




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                           EXHIBIT K
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                           EXHIBIT L
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                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                   New York District Office
                                                                            33 Whitehall Street, 5th Floor
                                                                             New York, NY 10004-2112
                                                                 For General Information: (800) 669-4000
                                                                          District Office: (212) 336-3620
                                                                           General FAX: (212) 336-3625




Candice D’Cunha
236 Graves St.
Staten Island, NY 10314

Re:    EEOC Charge No.520-2022-00721
       Candice D’Cunha v. Staten Island University Hospital/Northwell Health

Dear Dr. D’Cunha:

This office is in receipt of your request for a Notice of Right to Sue on the above-referenced
charge.

Ordinarily, a charging party or his/her counsel is not entitled to receive a Notice of Right to
Sue upon request until the charge has been pending with the EEOC for at least 180 days.
However, an early Notice of Right to Sue is authorized by 29 C.F.R. § 1601.28(a)(2) if the
Director determines that the Commission will not be able to complete its administrative
process within 180 days of the date the charge was filed.

We have reviewed all of the circumstances of this case and have determined that issuing
you the requested Notice of Right to Sue is warranted at this time. Specifically, given our
office’s current workload, we have concluded that the EEOC will be unable to complete the
processing of this charge within 180 days of the date the charge was filed.

Enclosed is your Notice of Right to Sue. If you have any questions, please contact
Investigator Glendora Young at (929) 506-5290.


                                                   On Behalf of the Commission


________________                                   ________________________For
Date                                               Judy Keenan
                                                   Director

Enc.
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 EEOC Form 161-B (11/2020)                U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Candice D'cunha                                                               From:    New York District Office
        236 Graves St                                                                          33 Whitehall Street
        Staten Island, NY 10314                                                                5th Floor
                                                                                               New York, NY 10004




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.

                                                         Glendora M. Young,
 520-2022-00721                                          Investigator                                                  (929) 506-5290
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

                  More than 180 days have passed since the filing of this charge.
        X         Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
                  The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission


                                                                                                       For
 Enclosures(s)                                                         Judy A. Keenan,                                       (Date Issued)
                                                                       District Director

 cc:          Lorin Weiner
              Director of Human Resources
              STATEN ISLAND UNIVERSITY HOSPITAL/ NORTHWELL
              HEALTH
              475 Seaview Ave
              Staten Island, NY 10305
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Enclosure with EEOC
Form 161-B (11/2020)
                                       INFORMATION RELATED TO FILING SUIT
                                     UNDER THE LAWS ENFORCED BY THE EEOC
                      (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


                                  Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS          --
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS          --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --               Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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Enclosures(s)


cc:
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix,        and         other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

  The limitations from the impairment no longer have to be severe or significant for the impairment to
   be considered substantially limiting.
  In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
   learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
   1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:
   functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
   genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
   hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
   within a body system.
  Only one major life activity need be substantially limited.
  With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
   measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
   considered in determining if the impairment substantially limits a major life activity.
  An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
   cancer) is a disability if it would be substantially limiting when active.
  An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
   months.

“Regarded as” coverage:
  An individual can meet the definition of disability if an employment action was taken because of an
    actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
    termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
    condition, or privilege of employment).
  “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
    limiting, or that the employer perceives the impairment to be substantially limiting.
  The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
    BOTH transitory (lasting or expected to last six months or less) AND minor.
  A person is not able to bring a failure to accommodate claim if the individual is covered only under the
    “regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
